Case 20-61065-pwb           Doc 425      Filed 05/06/20 Entered 05/06/20 16:42:43       Desc Main
                                        Document     Page 1 of 92




                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

In re:                                                 )     Chapter 11
                                                       )
THE KRYSTAL COMPANY, et al., 1                         )     Case No. 20-61065 (PWB)
                                                       )
                                                       )
                 Debtors.                              )     (Jointly Administered)
                                                       )

    NOTICE OF NO AUCTION AND FILING OF ASSET PURCHASE AGREEMENT

       PLEASE TAKE NOTICE that on February 12, 2020, the above-captioned debtors and
debtors in possession (collectively, the “Debtors”) filed the Motion for Entry of an Order (I)
Approving Bidding Procedures for the Sale of the Debtors’ Assets, (II) Scheduling Hearings and
Objection Deadlines with Respect to the Sale, (III) Scheduling Bid Deadlines and an Auction, (IV)
Approving the Form and Manner of Notice Thereof, (V) Approving Contract Assumption and
Assignment Procedures, and (VI) Granting Related Relief (the “Bidding Procedures Motion”)
[Docket No. 148].

      PLEASE TAKE FURTHER NOTICE that on March 4, 2020, the Court entered the
Order (I) Approving Bidding Procedures for the Sale of the Debtors’ Assets, (II) Scheduling
Hearings and Objection Deadlines with Respect to the Sale, (III) Scheduling Bid Deadlines and
an Auction, (IV) Approving the Form and Manner of Notice Thereof, (V) Approving Contract
Assumption and Assignment Procedures, and (VI) Granting Related Relief (the “Bidding
Procedures Order”) 2 [Docket No. 227].

       PLEASE TAKE FURTHER NOTICE that the Bidding Procedures Order established
May 5, 2020 at 5:00 p.m. (prevailing Eastern Time) (the “Bid Deadline”) as the deadline by which
all Qualified Bids must be actually received by the Debtors.




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
    tax identification number, include: The Krystal Company (4140); Krystal Holdings, Inc.
    (5381); and K-Square Acquisition Co., LLC (8916). The location of the Debtors’ corporate
    headquarters and service address is: 1455 Lincoln Parkway, Suite 600, Dunwoody, Georgia
    30346.
2
    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms
    in the Bidding Procedures Order.



DMSLIBRARY01\13459\253001\36861065.v2-5/6/20
Case 20-61065-pwb       Doc 425    Filed 05/06/20 Entered 05/06/20 16:42:43            Desc Main
                                  Document     Page 2 of 92




       PLEASE TAKE FURTHER NOTICE that the Debtors received only one Qualified Bid
by the Bid Deadline, which was a Qualified Bid submitted by DB KRST Investors LLC.

       PLEASE TAKE FURTHER NOTICE that since no other Qualified Bids were received
by the Bid Deadline, the Auction will not take place.

       PLEASE TAKE FURTHER NOTICE that the Debtors hereby file that certain Asset
Purchase Agreement by and between DB KRST Investors LLC and The Krystal Company, dated
as of May 6, 2020 (the “Asset Purchase Agreement”) (excluding schedules to the Asset Purchase
Agreement), attached hereto as Exhibit A, which constitutes the prevailing bid for the sale of
substantially all of the Debtors’ assets.

        PLEASE TAKE FURTHER NOTICE that, consistent with the Bidding Procedures
Order, the deadline to object to approval of the Sale is May 12, 2020 at 5:00 p.m. (prevailing
Eastern Time) and the Sale Hearing will be held before the Honorable Paul W. Bonapfel, United
States Bankruptcy Judge, Courtroom 1401, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303 on
May 13, 2020 at 11:00 a.m. (prevailing Eastern Time). Given the current public health crisis,
the hearing may be telephonic only. Please check the “Important Information Regarding Court
Operations During COVID-19 Outbreak” tab at the top of the GANB website prior to the hearing
for instructions on whether to appear in person or by phone.

        PLEASE TAKE FURTHER NOTICE that a copy of each document filed in the above-
captioned chapter 11 cases can be viewed on the Court’s website at http://ecf.ganb.uscourts.gov
(registered users) or at http://pacer.psc.uscourts.gov (unregistered users) and the website of the
Debtors’ notice and claims agent, Kurtzman Carson Consultants LLC, at
https://www.kccllc.net/krystal. Further information may be obtained by calling Kurtzman Carson
Consultants LLC toll free at (888) 249-2792 (U.S./Canada) or (310) 751-2607 (International).

                          [Remainder of page intentionally left blank.]




                                                2
Case 20-61065-pwb    Doc 425    Filed 05/06/20 Entered 05/06/20 16:42:43     Desc Main
                               Document     Page 3 of 92




 Date: May 6, 2020                   Respectfully submitted,
       Atlanta, GA
                                     KING & SPALDING LLP


                                     /s/ Sarah R. Borders
                                     Sarah R. Borders
                                     Georgia Bar No. 610649
                                     Jeffrey R. Dutson
                                     Georgia Bar No. 637106
                                     Leia Clement Shermohammed
                                     Georgia Bar No. 972711
                                     KING & SPALDING LLP
                                     1180 Peachtree Street NE
                                     Atlanta, Georgia 30309
                                     Telephone: (404) 572-4600
                                     Email: sborders@kslaw.com
                                     Email: jdutson@kslaw.com
                                     Email: lshermohammed@kslaw.com

                                     Counsel for the Debtors in Possession
Case 20-61065-pwb    Doc 425    Filed 05/06/20 Entered 05/06/20 16:42:43   Desc Main
                               Document     Page 4 of 92




                                      Exhibit A

                    Asset Purchase Agreement (excluding Schedules)
Case 20-61065-pwb   Doc 425    Filed 05/06/20 Entered 05/06/20 16:42:43   Desc Main
                              Document     Page 5 of 92



                                                                  Execution Version




                       ASSET PURCHASE AGREEMENT


                                BY AND BETWEEN

                          DB KRST INVESTORS LLC

                                       AND

                          THE KRYSTAL COMPANY




                                    May 6, 2020




39748401v22
Case 20-61065-pwb       Doc 425    Filed 05/06/20 Entered 05/06/20 16:42:43              Desc Main
                                  Document     Page 6 of 92



                             ASSET PURCHASE AGREEMENT

         THIS ASSET PURCHASE AGREEMENT, dated as of May 6, 2020 (this
“Agreement”), is entered into by and between DB KRST Investors LLC, a Delaware limited
liability company (“Purchaser”), on the one hand, and The Krystal Company, a Tennessee
corporation (“Seller”), on the other hand. Purchaser and Seller are sometimes individually referred
to in this Agreement as a “Party” and collectively as the “Parties.”

                                          RECITALS:

        WHEREAS, Seller operates a portfolio of Krystal brand quick-service restaurants,
consisting of both company-owned and franchised locations, which offer a variety of fast food and
beverages in a casual atmosphere (the “Business”);

        WHEREAS, Seller desires to sell, transfer, convey, assign and deliver the Purchased
Assets (as defined below) and to assign the Assumed Liabilities (as defined below), and Purchaser
desires to purchase, take delivery of, and acquire such Purchased Assets and to assume such
Assumed Liabilities upon the terms and subject to the conditions set forth herein;

       WHEREAS, Seller and certain affiliates (the “Debtors”) filed voluntary petitions for relief
under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States
Bankruptcy Court for the Northern District of Georgia (Atlanta Division) (the “Bankruptcy
Court”), which commenced chapter 11 bankruptcy cases for Debtors (collectively, the
“Bankruptcy Case”) pending as Jointly Administered Case No. 20-61065 (PWB) in the
Bankruptcy Court;

       WHEREAS, Debtors and others are parties to that certain Third Amended and Restated
Credit Agreement, dated as of April 26, 2018 (the “Credit Agreement”), by and among the Debtors,
Wells Fargo Bank, National Association, as Administrative Agent (the “Agent”), Issuing Bank
and Swing Line Lender, Regions Bank, as Syndication Agent, and the other lenders party thereto;

        WHEREAS, Purchaser, as duly appointed sub-agent of Agent, desires to credit bid the
Prepetition First Lien Obligations for the Purchased Assets, for the benefit of and on behalf of the
holders of the outstanding Prepetition First Lien Obligations, in an amount equal to the Credit Bid
Amount, in accordance with Section 363(k) of the Bankruptcy Code, the Bidding Procedures, and the
Sale Order; and

       WHEREAS, the transactions contemplated by this Agreement (the “Transactions”) will
be consummated pursuant to a Sale Order (as defined below) to be entered in the Bankruptcy Case
under Sections 105, 363, 365 and other applicable provisions of the Bankruptcy Code, and the
Transactions and this Agreement are subject to the approval of the Bankruptcy Court.

       NOW, THEREFORE, in consideration of the foregoing and the mutual agreements,
covenants, representations, warranties and promises set forth herein, and in order to prescribe the
terms and conditions of such purchase and sale, intending to be legally bound, the Parties agree as
follows:



                                                 2
39748401v22
Case 20-61065-pwb      Doc 425    Filed 05/06/20 Entered 05/06/20 16:42:43             Desc Main
                                 Document     Page 7 of 92



       1.     Definitions.

              1.1     Definitions. The following terms, as used herein, have the following
meanings:

                      (a)    “Accounts Receivable” means all accounts and notes receivable
       (whether current or non-current) of Seller, in respect of goods shipped, products sold or
       services rendered prior to the Closing Date, including receivables from credit card
       processors, franchisees, the sale of gift cards in retail outlets, and allowances due from
       landlords under Real Property Leases (but only to the extent such Real Property Leases
       constitute Assigned Contracts).

                       (b)     “Affiliate” means, with respect to any Person, any other Person
       directly or indirectly controlling, controlled by, or under common control with, such other
       Person; provided, however, that with reference to each Debtor, its only Affiliate shall be
       the other Debtors. Notwithstanding the foregoing, Softbank and members of the Softbank
       Group shall not be deemed Affiliates of Purchaser.

                     (c)     “Ancillary Documents” shall mean the Assignment and Assumption
       Agreement, the Bill of Sale, the IP Assignment and Assumption Agreement, the Deeds,
       the Management Agreement and any other agreement, document or certificate of the
       Purchaser or Seller, which is executed and delivered pursuant to this Agreement or in
       connection with the Transaction or the Closing.

                     (a)     “Auction” shall mean the auction as contemplated by the Bidding
       Procedures Order.

                     (b)    “Bidding Procedures” means the bidding procedures approved by
       the Bidding Procedures Order at Docket No. 227, Exhibit 1.

                     (c)    “Bidding Procedures Order” means the Order of the Bankruptcy
       Court approving the Bidding Procedures at Docket No. 227.

                     (d)  “Business Day” means a day other than Saturday, Sunday or other
       day on which commercial banks in Atlanta, Georgia are authorized or required by Law to
       close.

                      (e)    “CARES Act” means the Coronavirus Aid, Relief, and Economic
       Security Act as signed by the President on March 27, 2020.

                      (f)    “CARES Act Tax Relief” means (i) any tax credits available
       pursuant to Section 2301 of the CARES Act, and (ii) any deferral of payroll taxes claimed
       pursuant to Section 2302 of the CARES Act.

                     (g)    “Cash Management Motion” means the Emergency Motion for
       Entry of an Order (I) Authorizing Continued Use of Prepetition Bank Accounts, Cash
       Management System, Forms, and Books and Records and (II) Granting Related Relief at
       Docket No. 8.

                                                3
39748401v22
Case 20-61065-pwb       Doc 425    Filed 05/06/20 Entered 05/06/20 16:42:43              Desc Main
                                  Document     Page 8 of 92



                      (h)     “Cash Out Option” means the option of the Purchaser, which shall
       be exercised at the sole and absolute discretion of the Required Lenders (as defined in the
       Credit Agreement), to pay at Closing an amount of cash equal to any Prepetition First Lien
       Lender’s pro rata share of the Credit Bid Amount, which amount shall be payable by the
       Purchaser directly to such Prepetition First Lien Lender by wire transfer or certified check
       at the Closing and, in consideration thereof, the amount of such Prepetition First Lien
       Lender’s portion of the Prepetition First Lien Obligations equal to such Prepetition First
       Lien Lender’s pro rata share of the Credit Bid Amount shall be automatically extinguished
       and satisfied.

                    (i)    “CERCLA” means the Comprehensive Environmental Response,
       Compensation and Liability Act of 1980, as amended (42 U.S.C. § 9601 et seq.), and any
       Laws promulgated thereunder.

                    (j)       “Claim” means a “claim” as defined in Section 101 of the
       Bankruptcy Code.

                      (k)     “Closing Date” means the date of the Closing.

                      (l)    “Closing Date Cash” means the cash on hand in Debtors’ estates as
       of the Closing Date, but excluding cash in Store Level Depository Accounts (as defined in
       the Cash Management Motion) and any cash physically located at a Purchased Location.

                      (m)     “Code” means the Internal Revenue Code of 1986, as amended.

                        (n)    “Confidential Information” means any trade secret, confidential
       proprietary information and any other non-public information with respect to the Purchased
       Assets, including, without limitation, any trade secret or confidential proprietary
       information included in or embodied in any of the following: methods of operation,
       products, technology, inventions, trade secrets, know-how, software, marketing methods,
       sales plans and strategies, suppliers, competitors, markets, market surveys, techniques,
       research, development, production processes, finances, technical data, policies, strategies,
       designs, formulas, developmental or experimental work, improvements, discoveries, plans
       for research or future developments, database schemas or tables, infrastructure,
       development tools or techniques, training manuals, marketing, distribution and installation
       plans, processes and strategies, methodologies, business plans, budgets, financial
       information and data, customer and client information, prices and pricing strategies, costs,
       fees, customer and client lists and profiles, employee, customer and client nonpublic
       personal information, supplier lists, business records, audit processes, management
       methods and information, reports, recommendations and conclusions or other specialized
       information or proprietary matters as of the Closing Date. “Confidential Information” does
       not include, and there shall be no obligation hereunder with respect to, information that
       (i) is generally available to the public on the date of this Agreement, (ii) becomes generally
       available to the public other than as a result of a disclosure by such Person not otherwise
       permissible hereunder, or (iii) is required by Law or legal requirement to be disclosed.




                                                 4
39748401v22
Case 20-61065-pwb       Doc 425    Filed 05/06/20 Entered 05/06/20 16:42:43              Desc Main
                                  Document     Page 9 of 92



                    (o)     “Contracts” means any contract, agreement, lease, license, purchase
       order, commitment or other legally binding arrangement with respect to which Seller is a
       party.

                      (p)   “Credit Bid” means a bid by Purchaser in accordance with Section
       363(k) of the Bankruptcy Code.

                     (q)    “Credit Bid Amount” means a Credit Bid of the Prepetition First
       Lien Obligations equal to $27,000,000.00.

                      (r)      “Credit Card Liabilities” means all Liabilities and other rights of
       credit card processors or other Persons to amounts payable by Seller (whether current or
       non-current) in connection with any customer purchases from any restaurants operated by
       Seller in respect of credit or debit cards to any credit card processors to Seller, including
       any and all Claims arising from, related to, or in connection with the Data Breach. For the
       avoidance of doubt, to the extent that they do not arise under an Assigned Contract, Credit
       Card Liabilities are Excluded Liabilities hereunder.

                      (s)     “Credit Card Receivables” means all accounts and accounts
       receivable and other rights of Seller to amounts owed to Seller (whether current or non-
       current) in connection with any customer purchases from any restaurants operated by Seller
       that are made with credit or debit cards or any other related amounts owing (including
       deposits or holdbacks to secure chargebacks, offsets or otherwise) from credit card
       processors to Seller.

                       (t)    “Cure Costs” means that, for only the Assigned Contracts, all
       amounts that are determined by a final and nonappealable order of the Bankruptcy Court
       must be paid, including pursuant to Sections 365(b)(1)(A) and (B) of the Bankruptcy Code,
       in connection with the assumption and/or assignment of the Assigned Contracts to
       Purchaser as provided herein.

                      (u)     “Data Breach” means that certain security incident involving the
       presence of malware on a certain point of sale system in the Seller’s environment which
       malware allowed for the unauthorized access to and theft of payment card information of
       Seller’s customers, as further described on Schedule 3.8(g).

                      (v)     “Deeds” means one or more grant deeds conveying to Purchaser
       good, clear and marketable fee title to the Owned Real Property free and clear of all Liens
       to the extent permitted under Sections 363 and 365 of the Bankruptcy Code, in form and
       substance reasonably satisfactory to Purchaser.

                     (w)     “Designation Rights Period” means the period of forty-five (45)
       days from and after the Closing Date.

                       (x)    “Employee Benefit Plan” means any “employee benefit plan” (as
       defined in ERISA § 3(3)) and any other employee benefit arrangements or payroll
       practices, including, without limitation, bonus plans, consulting or other compensation
       agreements, incentive, equity or equity-based compensation, or deferred compensation

                                                5
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                               Document    Page 10 of 92



       arrangements, stock purchase, severance pay, sick leave, vacation pay, salary continuation,
       disability, hospitalization, medical insurance, life insurance or scholarship programs
       maintained, sponsored, or contributed or required to be contributed to by Seller or any
       ERISA Affiliate or with respect to which Seller or any ERISA Affiliate has any liability.

                        (y)    “Environmental Laws” means, whenever in effect, all foreign,
       federal, state, and local Laws and other provisions having the force or effect of Law, all
       judicial and administrative Orders and determinations, all contractual obligations, all
       common Law, and published policy or guidance, in each case concerning public health
       and safety, pollution or protection of the environment, including all those relating to the
       presence, use, production, generation, handling, transportation, treatment, storage,
       disposal, processing, discharge, Release, threatened Release, control, or cleanup of any
       Hazardous Substances or wastes, including, without limitation, CERCLA, the Hazardous
       Materials Transportation Act (49 U.S.C. App. § 1801 et seq.), the Resource Conservation
       and Recovery Act (42 U.S.C. § 6901 et seq.), the Clean Water Act (33 U.S.C. § 1251 et
       seq.), the Clean Air Act (42 U.S.C. § 7401 et seq.), the Toxic Substances Control Act (15
       U.S.C. § 2601 et seq.), the Federal Insecticide, Fungicide, and Rodenticide Act (7 U.S.C.
       § 136 et seq.), and the Occupational Safety and Health Act (29 U.S.C. § 651 et seq.), and
       including the laws of nuisance and trespass, and the regulations promulgated pursuant
       thereto.

                     (z)    “ERISA” means the Employee Retirement Income Security Act of
       1974, as amended, and all Laws issued thereunder.

                      (aa) “ERISA Affiliate” means any Person that, at any relevant time, is or
       was treated as a single employer with Seller for purposes of Code § 414.

                       (bb) “Farmer’s Lien” shall mean any Lien (including any trust or other
       arrangement in the nature of a Lien) for the benefit of producers, suppliers or sellers of
       livestock, poultry, fruits, vegetables or other farm products that operates to create a first
       priority Lien in favor of such producers, suppliers or sellers (or agents or assignees thereof)
       covering farm products (and the products and proceeds thereof), to secure the unpaid
       purchase price of such farm products, including any trust established by Section 499e of
       the PACA, Section 196b of the PSA, Section 197b of the PSA or any equivalent applicable
       state laws.

                        (cc) “Franchise Agreement” shall mean any Contract between Seller, on
       the one hand, and a third party on the other hand, pursuant to which Seller has granted a
       license to the third party to use Seller’s brand name, trademark, trade name, logo, or service
       mark in conducting business.

                      (dd) “GAAP” means, at a given time, United States generally accepted
       accounting principles, consistently applied.

                      (ee) “Governmental Authority” means any federal, state, local,
       municipal, foreign, supranational or other governmental or quasi-governmental authority
       of any nature (including any governmental agency, branch, bureau, commission,


                                                 6
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                 Desc Main
                               Document    Page 11 of 92



       department, official or entity and any court or other tribunal), or any administrative,
       executive, judicial, legislative, police, regulatory or taxing authority, or arbitral body.

                       (ff)    “Hazardous Substances” means any man-made or naturally
       occurring substance, product, material, waste or recyclable material which is regulated by
       any Governmental Authority including, without limitation, petroleum and its by products,
       asbestos, urea, formaldehyde, lead based paint, and any material or substance which is
       defined as “hazardous waste”, “hazardous substance”, “hazardous material”, “restricted
       hazardous waste”, “industrial waste”, “special waste”, “medical waste or biohazardous
       waste”, “solid waste”, “pollutant”, “contaminant”, “toxic waste” or “toxic substance” or
       other words of similar import under any provision of Environmental Law. Hazardous
       Substances shall include mold, if such mold is present under such conditions as to render
       any structure, or portion thereof, unsafe or unfit for its intended uses.

                        (gg) “Improvements” means all leasehold improvements located, placed,
       constructed or installed on or under any parcel of Leased Real Property (but only to the
       extent the related Real Property Lease constitutes an Assigned Contract), including all
       utilities, fire protection, security, surveillance, telecommunications, computer, wiring,
       cable, heat, exhaust, ventilation, air conditioning, electrical, mechanical, plumbing and
       refrigeration systems, facilities, lines, installations and conduits.

                      (hh) “Intellectual Property Licenses” means any Contract pursuant to
       which (i) Seller grants to any third Person any right to use (including through releases,
       immunities from suit or covenants not to sue) any of the Owned Intellectual Property or
       Licensed Intellectual Property and (ii) Seller received from any third Person any right to
       use (including through releases, immunities from suit or covenants not to sue) such third
       Person’s Intellectual Property Rights.

                       (ii)    “Intellectual Property Rights” means all of Seller’s intellectual
       property rights and other similar proprietary rights throughout the world, to the extent
       transferable under Section 365 of the Bankruptcy Code, including: (i) patents, patent
       applications, including continuations, divisionals, continuations-in-part, or reissues of
       patent applications and patents issuing thereon, and patent rights; (ii) trademarks
       (registered, unregistered and at common law), trademark registrations and applications,
       trade names, logos, all trade dress rights, logos, corporate names, identifying symbols,
       emblems, brand names, service marks (registered and at common law), service mark
       registrations and applications, service names, websites, Internet domain names, web pages,
       social media channels (including, without limitation, Facebook, Instagram and Twitter
       handles), signs or insignia and general intangibles of a like nature, and other indicia of
       source and all goodwill associated with any of the foregoing, and all applications and
       registrations therefor and renewals thereof; (iii) works of authorship, copyrights, copyright
       registrations and applications for registration, and moral rights; (iv) know-how, trade
       secrets, customer lists, proprietary information, proprietary processes and formulae,
       recipes, databases and data collections, confidential inventions and confidential business
       information (including recipes, know-how, formulas, compositions, manufacturing and
       production processes and techniques, technical data, customer and supplier lists, pricing
       and cost information, business and marketing plans and proposals); (v) all source and

                                                7
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                               Document    Page 12 of 92



       object code, software, algorithms, architecture, structure, display screens, layouts,
       inventions, development tools; (vi) all documentation and media constituting, describing
       or relating to the above, including manuals, memoranda and records; (vii) income and
       royalty payments arising from or relating to any of the foregoing; and (viii) causes of action
       and rights to sue or seek other remedies (including with respect to any past, present or
       future infringement, misuse or misappropriation) arising from or relating to any of the
       foregoing.

                       (jj)  “Inventory” means all supplies, goods, finished goods, materials,
       raw materials, work in process, perishable inventory and stock in trade owned by Seller,
       whether or not prepaid, and wherever located, held or owned, including all fresh and frozen
       foodstuffs, beverages, disposable paper goods (such as napkins and paper towels), soaps
       and detergents, condiments, retail merchandise, replacement and spare parts and fuels and
       other similar items.

                     (kk) “Knowledge of Seller” or any other similar knowledge qualification
       in this Agreement means all facts actually known by the following individuals after due
       inquiry: Jonathan Tibus, Tim Ward and Bruce Vermilyea.

                      (ll)    “Law” means any law, statute, regulation, rule, code, constitution,
       ordinance, treaty, rule of common law, or Order of, administered or enforced by or on
       behalf of, any Governmental Authority.

                       (mm) “Leased Real Property” means all of the real property leased or
       subleased by Seller in connection with conducting the Business, including the real property
       locations set forth on Schedule 1.1(kk).

                        (nn) “Legal Proceeding” means any judicial, administrative or arbitral
       actions, suits, proceedings (public or private) or Claims or any proceedings by or before a
       Governmental Authority, and any appeal from any of the foregoing.

                        (oo) “Liability” means any debt, loss, damage, adverse claim, fine,
       penalty, liability or obligation (whether direct or indirect, known or unknown, asserted or
       unasserted, absolute or contingent, accrued or unaccrued, matured or unmatured,
       determined or determinable, disputed or undisputed, liquidated or unliquidated, or due or
       to become due, and whether in contract, tort, strict liability or otherwise), whether
       contingent, at law or in equity or otherwise, including any liability based on successor
       liability theories, and including all costs and expenses related thereto.

                      (pp) “Licensed Intellectual Property” means any Intellectual Property
       Rights that Seller is licensed or otherwise permitted by other Persons to use pursuant to
       any Intellectual Property License.

                       (qq) “Lien” means, with respect to any property or asset, any mortgage,
       lien (statutory or otherwise, including Farmer’s Liens), pledge, security interest, Claim,
       encumbrance, option, restriction, charge, instrument, preference, priority, or right of first
       refusal, of any kind or nature, whether secured or unsecured, choate or inchoate, filed or
       unfiled, scheduled or unscheduled, recorded or unrecorded, contingent or non-contingent,

                                                 8
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                   Desc Main
                               Document    Page 13 of 92



       material or non-material, known or unknown and also includes any “interest” as that term
       is used in Section 363(f) of the Bankruptcy Code. For the avoidance of doubt, the definition
       of Lien shall not be deemed to include the grant of any license or sublicense by Seller of
       Intellectual Property Rights.

                     (rr)   “Management Agreement” means a Management Agreement by and
       between Seller and Purchaser in the form attached hereto as Exhibit A.

                       (ss)    “Material Adverse Effect” means a condition, fact or circumstance
       that, individually or in the aggregate, has had or could reasonably be expected to have a
       material adverse effect (1) on the Business, the Assumed Liabilities or the Purchased
       Assets or the Seller’s operations, results of operations, or condition (financial or otherwise),
       or (2) on the ability of Seller to perform its obligations hereunder in a timely manner,
       excluding in the case of clause (1) above any such effect to the extent resulting from or
       arising in connection with (i) the pendency or consummation of the Transactions or the
       public announcement thereof, in each case arising as a result of the identity of Purchaser;
       (ii) changes or conditions affecting the industries generally in which Seller operates;
       (iii) changes in national or international economic or political conditions; (iv) changes in
       financial, banking or securities markets (including any disruption thereof or any decline in
       the price of securities generally or any market or index); (v) changes in Law or in GAAP
       or interpretations thereof; (vi) changes resulting from the commencement and continuation
       of the Bankruptcy Case; (vii) changes arising in connection with the COVID-19 pandemic
       or any earthquake, flood, hurricane, tornado or other act of God, (viii) failure of Seller to
       meet financial projections (provided that the underlying causes of such failure (subject to
       the other provisions of this definition) shall not be excluded), or (ix) any action taken by
       Seller as required or contemplated by this Agreement.

                      (tt)  “Multiemployer Plan” means any “multiemployer plan” (as defined
       in ERISA § 3(37)) contributed to by Seller or any ERISA Affiliate or with respect to which
       Seller or any ERISA Affiliate has any liability.

                      (uu) “Non-Assigned Contracts” means any contract or agreement not
       listed as an Assigned Contract, or is at any point excluded from being an Assigned
       Contract. For the avoidance of doubt, notwithstanding any provision of this Agreement to
       the contrary, the Contracts listed on Schedule 1.1(ss) (including any amendment or
       supplement thereto) shall in all circumstances be Non-Assigned Contracts except to the
       extent expressly otherwise agreed by Purchaser and Seller via a written amendment to
       Schedule 1.1(ss).

                       (vv) “Order” means any award, decision, decree, order, directive,
       injunction, ruling, judgment, or consent of or entered, issued, made or rendered by any
       Governmental Authority.

                    (ww) “Owned Intellectual Property” means the Intellectual Property
       Rights owned by Seller.




                                                  9
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                               Document    Page 14 of 92



                     (xx) “Owned Real Property” shall mean, collectively, the real property
       owned by Seller (including all improvements, buildings, structures, and all fixtures related
       thereto).

                     (yy) “PACA” means the Perishable Agricultural Commodities Act, 7
       U.S.C. Section 499a et seq.

                       (zz) “Permits” means licenses, permits, approvals, certificates of
       occupancy, authorizations, operating permits, registrations, plans and the like, in each case
       to the extent transferable without the consent of any Governmental Authority.

                       (aaa) “Permitted Liens” means (i) Liens granted by Purchaser at or after
       the Closing in connection with any financing of Purchaser related to the purchase of the
       Purchased Assets pursuant to this Agreement; (ii) Liens that arise under zoning, building
       codes, land use and other similar Laws, none of which would materially interfere with the
       ownership or operation by Purchaser of the Purchased Assets following the Closing in
       substantially the manner as owned and operated immediately prior to the execution of this
       Agreement; (iii) Liens for Taxes not yet due and payable; and (iv) with respect to leased or
       licensed property, the terms and conditions of the lease or license applicable thereto to the
       extent constituting an Assigned Contract.

                      (bbb) “Person” means an individual, corporation, partnership, limited
       liability company, association, joint venture, trust or other entity or organization, including
       a Governmental Authority.

                    (ccc)     “Petition Date” means the date on which Debtors commenced the
       Bankruptcy Case.

                       (ddd) “Post-Petition Contracts” means all Contracts entered into by the
       Seller after the Petition Date (except any Contracts related to money loaned to Seller by
       any bank or other financial institution or person), including all contracts with vendors,
       suppliers, and customers.

                       (eee) “Prepetition First Liens” means the security interests and Liens
       granted by Debtors in favor of the Agent and for the benefit of the Secured Parties as more
       particularly described in the Credit Agreement and related loan documents.

                      (fff) “Prepetition First Lien Lenders” means the Agent, Purchaser,
       individually and in its capacity as sub-agent, and each of the lenders party to the Credit
       Agreement.

                      (ggg) “Prepetition First Lien Obligations” means all “Obligations” (as
       defined in the Credit Agreement).

                    (hhh) “Property Taxes” means all personal property Taxes, real property
       Taxes and similar ad valorem obligations with respect to Purchased Assets for any Tax
       period.


                                                 10
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                 Desc Main
                               Document    Page 15 of 92



                      (iii)   “PSA” means the Packers and Stockyards Act, 7 U.S.C. Section 181
       et seq.

                      (jjj) “Purchased Avoidance Actions” means all causes of action,
       lawsuits, Claims, rights of recovery and other similar rights of Seller arising under Chapter
       5 of the Bankruptcy Code, whether relating to the Business and the Purchased Assets or
       otherwise.

                      (kkk) “Purchased Location” means a restaurant location that is subject to
       a Real Property Lease that is an Assigned Contract.

                      (lll) “Purchaser Material Adverse Effect” means a material adverse
       effect on the ability of Purchaser to consummate the transactions contemplated by this
       Agreement.

                      (mmm)“Release” has the meaning set forth in CERCLA.

                      (nnn) “Relief Proceeds” means, all rights of, or on behalf of, Seller in
       respect of any current or future disaster relief or other similar assistance program of any
       Governmental Authority in respect of, or enacted in response to, the COVID-19 pandemic,
       including any CARES Act Tax Relief.

                       (ooo) “Remedial Action” means all actions to (i) clean up, remove, treat
       or in any other way address any Hazardous Substances or restore natural resources, (ii)
       prevent the Release of any Hazardous Substances so it does not endanger or threaten to
       endanger worker or public health or welfare or the indoor or outdoor environment, (iii)
       perform pre-remedial studies and investigations or post-remedial monitoring and care, or
       (iv) correct a condition of noncompliance with Environmental Laws.

                      (ppp) “Representatives” shall mean, with respect to any Person, such
       Person’s directors, officers, employees, financial advisors, attorneys, accountants,
       consultants, agents and other representatives.

                       (qqq) “Restaurant Cash” means, with respect to any individual restaurant
       that is a Purchased Location or is otherwise acquired by Purchaser under this Agreement,
       cash on hand and physically located at such restaurant.

                      (rrr)   “Retained Cash” mean cash in the amount of $4,696,300.

                       (sss) “Sale Order” means an Order of the Bankruptcy Court (i) approving
       this Agreement, (ii) authorizing the sale of the Purchased Assets pursuant to Sections 363
       of the Bankruptcy Code, (iii) authorizing the assumption and assignment of the Assigned
       Contracts pursuant to Section 365 of the Bankruptcy Code, (iv) containing findings of fact
       and conclusions of law that Purchaser has acted in “good faith” within the meaning and
       entitled to the protections of Section 363(m) of the Bankruptcy Code, and (v) authorizing
       the Transactions, and satisfactory, in form and substance, to the Purchaser, in its reasonable
       discretion.


                                                11
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                   Desc Main
                               Document    Page 16 of 92



                     (ttt) “Section 503(b)(9) Order” means the Order (I) Authorizing Payment
       of Undisputed Claims Under Section 503(B)(9); (II) Establishing the Bar Date for Filing
       Requests for Payment of Administrative Expense Claims Under Section 503(B)(9); (III)
       Approving the Form, Manner, and Sufficiency of Notice of Bar Date Pursuant to
       Bankruptcy Rule 9007; (VI) Approving the Procedure for Submitting Section 503(B)(9)
       Claims; (V) Establishing and Implementing Exclusive and Global Procedures for
       Resolving Claims Relating to Goods Received Within Twenty Days Prior to the Petition
       Date; and (VI) Granting Related Relief.

                      (uuu) “Secured Parties” has the meaning set forth in the Credit Agreement.

                      (vvv) “SoftBank” mean SoftBank Group Corp.

                       (www) “Softbank Group” means any Person controlling, controlled by or
       under common control with SoftBank that is not also controlled by Fortress Investment
       Group LLC. For purposes of this definition, “control” means the power, through ownership
       of securities, Contract or otherwise, to direct the policies of the applicable person or entity.

                     (xxx) “Successful Bidder” has the meaning set forth in the Bidding
       Procedures Order.

                      (yyy) “Tax” means (i) any tax, governmental fee or other like assessment
       or charge of any kind whatsoever (including withholding on amounts paid to or by any
       Person), together with any interest, penalty, addition to tax or additional amount imposed
       by any Governmental Authority (a “Taxing Authority”) responsible for the imposition,
       administration, or collection of any such tax (domestic or foreign), or (ii) liability for the
       payment of any amounts of the type described in clause (i) as a result of being (a) a
       transferee or successor or by having been a member of a combined, affiliated, unitary,
       consolidated or similar group or otherwise by operation of Law or (b) a party to any
       agreement or any express or implied obligation to indemnify any other Person.

                       (zzz) “Tax Return” means any return, declaration, report, claim for refund
       or information return or statement relating to Taxes, including any schedule or attachment
       thereto, and including any amendment thereof.

                      (aaaa) “Transfer Tax” means any stamp, documentary, registration,
       transfer, added-value or similar Tax imposed under any applicable Law in connection with
       the Transactions.

                      (bbbb) “Treasury Regulations” means regulations promulgated by the
       United States Department of Treasury under the Code.

               1.2     Cross References. Each of the following terms is defined in the Section set
forth opposite such term:

                        Term                                                      Section
                        Agreement                                                 Preamble
                        Assignment and Assumption Agreement                       2.9(a)

                                                 12
39748401v22
Case 20-61065-pwb     Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43    Desc Main
                             Document    Page 17 of 92



                      Assigned Contracts                         2.1(a)
                      Assumed Liabilities                        2.3
                      Assumption Notice                          2.5(b)(ii)
                      Bankruptcy Case                            Recitals
                      Bankruptcy Code                            Recitals
                      Bankruptcy Court                           Recitals
                      Bill of Sale                               2.9(a)
                      Business                                   Recitals
                      Casualty                                   7.7(b)
                      Casualty Proceeds                          7.7(b)
                      Closing                                    2.8
                      Condemnation                               7.7(a)
                      Condemnation Proceeds                      7.7(a)
                      Continuation Costs                         2.5(b)(i)
                      Contract & Cure Schedule                   7.5(a)
                      Credit Card Contracts                      3.16(a)(viii)
                      Designation Right Asset                    2.5(b)(i)
                      Employment-Related Laws and Obligations    3.12
                      Encumbrance Documents                      3.14(b)
                      End Date                                   12.1(b)
                      Excluded Assets                            2.2
                      Excluded Liabilities                       2.4
                      Financial Statements                       3.17
                      Initial Allocation                         2.6(b)
                      Material Contract                          3.16(a)
                      Non-Recourse Parties                       13.10
                      Organizational Amendments                  5.5(a)
                      Party or Parties                           Preamble
                      Purchase Price                             2.6(a)
                      Purchased Assets                           2.1
                      Purchaser                                  Preamble
                      Real Property Lease                        3.15(d)
                      Registered Owned Intellectual Property     3.8(a)
                      Rejection Notice                           2.5(b)(iii)
                      Retained Cash Shortfall                    6.6
                      Seller                                     Preamble
                      Seller Core Representations                10.2(b)
                      Taxing Authority                           1.1(vvv)
                      Transactions                               Recitals
                      Transferred Employee                       9.1(a)
                      Transferred Employee’s Employment Date     9.2

       2.     Purchase and Sale.



                                           13
39748401v22
Case 20-61065-pwb        Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                                Document    Page 18 of 92



                  2.1    Purchase and Sale. Subject to the terms and conditions set forth in this
Agreement, at the Closing, Seller agrees to sell, transfer and deliver to Purchaser, and Purchaser
agrees to purchase, acquire and accept from Seller, all of Seller’s right, title and interest in and to
all of Seller’s tangible and intangible assets, properties and rights (other than the Excluded Assets),
in each case free and clear of all Liens (excluding Permitted Liens) except as required by Sections
363 and 365 of the Bankruptcy Code, on an “as is, where is” basis and without any representation
or warranty on the part of Seller as to fitness, merchantability or otherwise, except as otherwise
provided herein (the “Purchased Assets”), which Purchased Assets shall include, without
limitation:

                       (a)     all rights of Seller under the Contracts (including, without
       limitation) that are set forth on Schedule 2.1(a) (collectively, the “Assigned Contracts”);
       provided, however, that notwithstanding anything herein to the contrary (including the
       provisions set forth in Section 2.5(b)), (i) Assigned Contracts shall include all Post-Petition
       Contracts to the extent there are no Cure Costs due and payable in connection with such
       Post-Petition Contracts and solely to the extent the Post-Petition Contracts collectively do
       not require the Purchaser to make payments in excess of $275,000 over a twelve-month
       period, and, (ii) for the sake of clarity, any Post-Petition Contract with Keen-Summit
       Capital Partners LLC shall be an Assigned Contract;

                        (b)    except for the Retained Cash, all of Seller’s cash and cash
       equivalents on hand (including all undeposited checks) and in banks or other financial
       institutions, including short-term marketable securities, and including the Restaurant Cash
       in respect of all Purchased Locations;

                       (c)      all Accounts Receivable and all claims against third parties related
       to the collectability thereof;

                       (d)     all Inventory (including Inventory in transit and Inventory located
       at restaurants that are not acquired by Purchaser under this Agreement);

                      (e)     all tangible personal property, including all machinery, equipment,
       tools, point of sale systems, computers, mobile phones, personal digital assistants,
       computer equipment, hardware, peripherals, information technology infrastructure,
       telephone systems, furniture, fixtures, furnishings, cutlery, office supplies, production
       supplies, other miscellaneous supplies, and other tangible personal property of any kind
       owned by Seller (including any of the foregoing property that is subject to a capital lease);

                     (f)    any Tax refund due to Seller or the other Debtors (including, for the
       avoidance of doubt, K-Square Acquisition Co., LLC);

                       (g)      all Permits set forth on Schedule 2.1(g) (in each case to the extent
       transferable without the consent of any Governmental Authority) other than Permits that
       relate specifically to a restaurant or real property that is covered by a Real Property Lease
       that does not constitute an Assigned Contract;




                                                  14
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                               Document    Page 19 of 92



                       (h)    all Intellectual Property Rights, including the items set forth on
       Schedule 2.1(h) and all indoor and outdoor signage, advertising, promotional materials,
       décor, pieces, accents, and artwork or decorations;

                      (i)     all cars, trucks, forklifts, other industrial vehicles and other motor
       vehicles;

                      (j)     except as set forth in Section 2.2(a), all security deposits, utility
       deposits, and other deposits;

                      (k)     all Improvements other than Improvements that relate specifically
       to a restaurant or real property that is covered by a Real Property Lease that does not
       constitute an Assigned Contract and is not otherwise acquired by Purchaser pursuant to this
       Agreement;

                       (l)     all rights of Seller under non-disclosure or confidentiality, non-
       compete, or non-solicitation agreements with current or former employees and agents of
       Seller or with third parties, including, without limitation, non-disclosure or confidentiality,
       non-compete, or non-solicitation agreements entered into in connection with the sale of the
       Seller’s assets and all rights of Seller, whether under a Contract or otherwise, concerning
       obligations not to disclose Confidential Information relating to the Business and all
       obligations not to compete with the Business that any current or former employee owes to
       Seller (notwithstanding the foregoing, nothing in this Agreement shall require Seller to pay
       any Cure Costs or make any other payment that may be required in order to enforce Seller’s
       rights under any Contract included in this Section 2.1(l));

                      (m)     all rights to the telephone and facsimile numbers and email
       addresses used by Seller other than telephone and facsimile numbers that relate specifically
       to a restaurant or real property that is covered by a Real Property Lease that does not
       constitute an Assigned Contract;

                      (n)    all     of      Seller’s     recipes,    methods,     procedures,
       cooking/preparation/mixing publications, guidelines, or standards, knowhow, ingredient
       lists, menus, price lists, nutritional, health, or dietary information, publications, or
       disclosures, and promotional or informational materials, in each case whether related to
       food, beverages, or otherwise (in each case, written or oral or in any other form
       whatsoever);

                         (o)    all books, records, files and papers of Seller relating primarily to
       (i) the Business, (ii) the Purchased Assets, including equipment logs, operating guides and
       manuals, creative materials, advertising materials, promotional materials, studies, reports,
       correspondence, financial and accounting records, Tax records and other similar
       documents and records (all in the state in which such records and information currently
       exist), (iii) the Transferred Employees (to the extent the Transferred Employee consents to
       such transfer) or (iv) eligibility and rights to receive Relief Proceeds; provided that Seller
       shall be entitled to retain copies of such books, records, files and papers;



                                                 15
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                Desc Main
                               Document    Page 20 of 92



                       (p)    except to the extent that the same is an Excluded Asset, all other
       rights, demands, claims, credits, allowances, rebates or other refunds (excluding any
       vendor or supplier rebates) and rights in respect of promotional allowances or rights of
       setoff and rights of recoupment of every kind and nature (whether or not known or
       unknown or contingent or non-contingent), other than against Seller, arising out of or
       relating to the Business and the Purchased Assets as of the Closing;

                        (q)    the Purchased Avoidance Actions; provided, however, that: (i) as of
       the Closing, Purchaser shall be deemed to have waived all Purchased Avoidance Actions
       and shall be deemed to have fully and finally released such claims, and (ii) neither the
       Purchaser, nor any Person claiming by, through or on behalf of the Purchaser (including
       by operation of law, sale, assignment, conveyance or otherwise), will pursue, prosecute,
       litigate institute or commence an action based on, assert, sell, convey, assign or file any
       claim that relates to the Purchased Avoidance Actions;

                      (r)     all rights arising from Relief Proceeds;

                       (s)    all Claims under insurance policies for property damage claims
       related to the Purchased Assets and, to the extent set forth in Section 7.7, all proceeds of
       any condemnation proceeding affecting the Purchased Assets, and all warranties,
       representations and guarantees made by suppliers, manufacturers, contractors and any
       other Person to the extent relating to equipment purchased, products sold, or services
       provided, to Seller or to the extent affecting any Purchased Assets and/or Assumed
       Liabilities;

                      (t)     all goodwill associated with the Business or the Purchased Assets;

                      (u)     the Owned Real Property;

                      (v)   to the extent transferable, all Store Level Depository Accounts (as
       defined in the Cash Management Motion), but excluding any negative cash balances in
       such Store Level Depository Accounts;

                        (w)     all refunds or other payments due or to become due to Seller or the
       other Debtors in connection with and pursuant to workers’ compensation insurance policies
       of Seller, to the extent such policies become Assigned Contracts hereunder; and

                      (x)     except for Excluded Assets set forth in Section 2.2, all other assets
       of Seller (including any Designation Right Assets elected to be included as Purchased
       Assets by written notice from Purchaser to Seller during the Designation Rights Period).

Pursuant to Section 363(f) of the Bankruptcy Code, the transfer of the Purchased Assets shall be
free and clear (except for the Assumed Liabilities and Permitted Liens) of any and all liens (as
defined in Section 101(37) of the Bankruptcy Code), claims (as defined in Section 101(5) of the
Bankruptcy Code, including, without limitation, claims for successor liability under any theory of
Law or equity), or Liens, in each case pursuant to Section 363(f) of the Bankruptcy Code, whether
arising prior to or subsequent to the Petition Date.


                                                16
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                               Document    Page 21 of 92



                2.2    Excluded Assets. Notwithstanding any other provision of this Agreement
to the contrary, the Purchased Assets shall not include the following (the “Excluded Assets”):

                      (a)     the Retained Cash;

                       (b)     all security deposits and deposits held by landlords, vendors or trade
       creditors that are parties to Non-Assigned Contracts, and, for the avoidance of doubt, all
       cash in the Debtors’ Adequate Assurance Account (as defined in the Seller’s Utilities
       Motion filed at Docket No. 120 in the Bankruptcy Case);

                      (c)      except for the Purchased Avoidance Actions or as set forth in
       Sections 2.1(s) or 7.7 hereof, all Claims or causes of action of Seller, whether arising under
       the Bankruptcy Code, applicable state law or otherwise (excluding actions available to
       Seller under Chapter 5 of the Bankruptcy Code) and the proceeds thereof, of whatever kind
       or nature, and whether asserted or unasserted;

                      (d)   Seller’s corporate seals, stock record books, minute books, and
       organizational documents;

                      (e)     all Permits of Seller that are not otherwise set forth on Schedule
       2.1(g);

                      (f)     Non-Assigned Contracts;

                      (g)     any directors and officers insurance policies of Seller;

                      (h)     all rights of Seller arising under this Agreement or in connection
       with the Transactions;

                      (i)     [reserved];

                      (j)     all amounts owed to Seller by any one or more of Seller’s Affiliates;

                      (k)     all tangible personal property listed on Schedule 2.2(k);

                      (l)     all Improvements not included in Section 2.1(k);

                      (m)     all telephone and facsimile numbers not included in Section 2.1(m);

                      (n)    all books, records, files and papers of Seller not included in
       Section 2.1(o); provided that Purchaser shall have the right (at its sole expense) to make
       copies of such retained records to the extent relating to the Business or any Purchased
       Asset;

                      (o)     all assets, if any, listed on Schedule 2.2(o);

                       (p)     all Employee Benefit Plans (and any assets and liabilities that are
       part of or arise under such Employee Benefit Plans) unless they are included as Assigned
       Contracts; and

                                                17
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                               Document    Page 22 of 92



                       (q)    any assets, properties and/or rights identified by Purchaser in writing
       (including any Contract previously designated as an Assigned Contract) in its sole
       discretion, at any time until the date that is three (3) Business Days prior to the Closing
       Date, except for those Assigned Contracts set forth on Schedule 2.2(q) for which Purchaser
       shall not have the right to designate as an Excluded Asset after the date hereof, and any
       Designation Right Assets elected to be included as Excluded Assets by written notice from
       Purchaser to Seller during the Designation Rights Period.

               2.3     Assumed Liabilities. Upon the terms and subject to the conditions of this
Agreement, Purchaser agrees, effective at the time of the Closing, to assume, pay, perform and
discharge, promptly when payment or performance is due or required, only the following liabilities
and obligations of Seller or the Business (the “Assumed Liabilities”):

                      (a)    all Claims, liabilities and obligations arising in connection with the
       Business or the Purchased Assets after the Closing;

                       (b)    all liabilities and obligations of Seller arising under the Assigned
       Contracts, Permits included within Purchased Assets and Intellectual Property Rights to
       the extent not otherwise set forth in this Section 2.3;

                       (c)    (i) all Cure Costs, and any and all costs and expenses necessary in
       connection with providing “adequate assurance of future performance” with respect to the
       Assigned Contracts (as contemplated by Section 365 of the Bankruptcy Code); and (ii) to
       the extent not included in Cure Costs, all unpaid rent obligations for Purchased Locations
       for the months of April and May 2020;

                      (d)     all liabilities and obligations of Seller arising under outstanding gift
       cards, including gift cards issued or sold prior to or after the Petition Date, but excluding
       any escheatment claims related to such gift card obligations and excluding any claims for
       cash refunds to the extent not otherwise required by applicable Law in any jurisdiction in
       which a Purchased Location is located;

                      (e)     all obligations and liabilities for accrued salaries, benefits, wages
       and applicable payroll taxes in each case solely with respect to the most current and active
       pay period as of the Closing Date;

                       (f)     all accounts payable for trade payables and accrued liabilities of
       Seller arising in the ordinary course of business arising before or after the Petition Date
       that are entitled to priority status under Section 503(b) of the Bankruptcy Code (it being
       understood that trade payables and accrued liabilities shall not include any fees or expenses
       due to professional persons retained by Seller or any other party involved in the Bankruptcy
       Case, including any creditors’ committees; provided, that Purchaser shall pay such
       accounts payable arising under Section 503(b)(9) of the Bankruptcy Code within three (3)
       Business Days of reconciliation in accordance with the Section 503(b)(9) Order;

                      (g)    all accrued and unpaid sales tax obligations of the Seller outstanding
       as of the Closing Date; and


                                                 18
39748401v22
Case 20-61065-pwb      Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                              Document    Page 23 of 92



                      (h)    all Property Taxes that are attributable to the Purchased Assets;

        provided, however, that the aggregate amount of Assumed Liabilities with respect to
subpart (c) (excluding the obligation to provide adequate assurance of future performance),
subparts (d) – (g), and subpart (h) (excluding Property Taxes accruing after the Closing Date) of
this Section 2.3 shall not exceed $21,500,000.

                2.4      Excluded Liabilities. Notwithstanding any other provision of this
Agreement to the contrary, Purchaser is assuming only the Assumed Liabilities and is not assuming
any other Claim against or Liability of Seller of whatever nature, whether presently in existence
or arising hereafter. All such other Claims and Liabilities not being assumed (the “Excluded
Liabilities”) shall be retained by and remain the sole Liabilities of Seller.

              2.5     Assumption/Assignment of Contracts and Rights.

                       (a)     To the maximum extent permitted by the Bankruptcy Code, the
       Assigned Contracts shall be assumed by Seller and assigned to Purchaser at the Closing
       pursuant to Section 365 of the Bankruptcy Code. Purchaser shall have sole responsibility
       for paying any Cure Costs due in connection with the assumption and assignment of the
       Assigned Contracts to the extent set forth in Section 2.3(c). Notwithstanding any other
       provision of this Agreement to the contrary, this Agreement shall not constitute an
       agreement to assign any Purchased Asset or any right thereunder if such attempted
       assignment would not be permitted under Sections 363 or 365 of the Bankruptcy Code and
       a third party objects to the assignment and it is determined by the Bankruptcy Court that
       the Seller is incapable as a matter of law of assigning that particular Purchased Asset. If
       applicable counterparty consent is not obtained or such assignment is not permitted
       pursuant to Sections 363 and/or 365 of the Bankruptcy Code as set forth in the preceding
       sentence, then such Purchased Assets shall not be transferred hereunder and the Closing
       shall proceed with respect to the remaining Purchased Assets without any reduction in the
       Purchase Price.

                      (b)    Designation Right Asset.

                              (i)     Purchaser shall have the right, by written notice to Seller no
              later than three (3) Business Days prior to the Closing Date, to specify that any
              Contract and/or asset that is not a Purchased Asset shall be held by Seller (and, to
              the extent a Contract, not rejected pursuant to Section 365 of the Bankruptcy Code)
              (any such Contract, a “Designation Right Asset”) for the duration of the
              Designation Rights Period; provided that, with respect to any such Designation
              Right Asset: (A) Purchaser shall promptly pay and be solely responsible for, all
              costs, expenses or liabilities associated with the continuation by, and (to the extent
              such Designation Right Asset is a Contract) ultimate assumption or rejection by,
              Seller of such Designation Right Asset for the period from the Closing through the
              end of the Designation Rights Period, including costs, expenses or liabilities arising
              from or incurred in connection with the administration of the Bankruptcy Case and
              related primarily to the Designation Right Assets (such costs, “Continuation
              Costs”); (B) the foregoing shall not affect the validity of the transfer to Purchaser

                                               19
39748401v22
Case 20-61065-pwb      Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                Desc Main
                              Document    Page 24 of 92



              of any other Purchased Asset that may be related to such Designation Right Asset;
              and (C) after the Closing, Purchaser shall provide all employees necessary for the
              operation of the Designation Right Assets.

                             (ii)    As to each Designation Right Asset that is a Contract, as
              soon as practical after receiving further written notice(s) (each, an “Assumption
              Notice”) from Purchaser during the Designation Rights Period requesting
              assumption and assignment of any Designation Right Asset, Seller shall, at the sole
              cost and expense of the Purchaser and subject to Purchaser’s demonstrating
              adequate assurance of future performance thereunder, take all actions required by
              the Sale Order or otherwise that are reasonably necessary to seek to assume and
              assign to Purchaser pursuant to Section 365 of the Bankruptcy Code such
              Designation Right Asset(s) set forth in an Assumption Notice.

                            (iii) As to each Designation Right Asset that is a Contract, as
              soon as practical after receiving further written notice(s) (each, a “Rejection
              Notice”) from Purchaser during the Designation Rights Period requesting rejection
              of any Designation Right Asset, Seller shall, at the sole cost and expense of the
              Purchaser, take all actions required by the Sale Order or otherwise that are
              reasonably necessary to reject such contract pursuant to Section 365 of the
              Bankruptcy Code.

                             (iv)     Seller and Purchaser agree and acknowledge that the
              covenants set forth in this Section 2.5 shall survive the Closing.

                             (v)     Notwithstanding anything in this Agreement to the contrary,
              on the date any Designation Right Asset is assumed and assigned to Purchaser
              pursuant to this Section 2.5(b), such Designation Right Asset shall be deemed a
              Purchased Asset for all purposes under this Agreement and no further consideration
              shall be required to be paid for any Designation Right Asset that is assumed and
              assigned to Purchaser.

              2.6    Purchase Price; Allocation of Purchase Price.

                      (a)   The aggregate consideration for the sale and transfer of the
Purchased Assets (the “Purchase Price”) shall be composed of the following:

                             (i)    the Credit Bid in the amount of the Credit Bid Amount; and

                             (ii)   the assumption by Purchaser of the Assumed Liabilities.

                     (b)     The Purchase Price shall be satisfied at the Closing as to:

                             (i)    the Credit Bid, by extinguishing the Prepetition First Lien
              Obligations covered by the Credit Bid Amount, which shall be deemed to occur
              automatically and without further action on the Closing Date; and



                                               20
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                               Document    Page 25 of 92



                             (ii)   the amount of the Assumed Liabilities described in and
               pursuant to Section 2.3, by assuming such Assumed Liabilities pursuant to the
               Assignment and Assumption Agreement.

                        (c)    Purchaser and Seller agree that the Purchase Price, applicable
Assumed Liabilities and other relevant items shall be allocated in accordance with Section 1060
of the Code and the regulations thereunder (and similar applicable state Laws and regulations).
No later than one hundred twenty (120) days following the Closing Date, Purchaser will prepare
and deliver to Seller a copy of IRS Form 8594 and any required exhibits thereto allocating the
Purchase Price (and any other amounts hereunder that are treated as acquisition consideration for
U.S. federal, state and local income Tax purposes) among the Purchased Assets, the Assumed
Liabilities and the Business (the “Initial Allocation”). Seller shall have thirty (30) days from the
receipt of the Initial Allocation to provide comments to Purchaser with respect to the Initial
Allocation. Purchaser and Seller shall use reasonable efforts in good faith to resolve any disputes
with respect to the Initial Allocation. The final allocation determined in accordance with this
Section 2.6(c) shall be binding on Purchaser and Seller for all purposes, including the reporting of
gain or loss and determination of basis for income Tax purposes, and each of the Parties agrees
that it will file a statement (on IRS Form 8594 or other applicable form) setting forth such
allocation with its federal and applicable state income Tax Returns and will also file such further
information or take such further actions as may be necessary to comply with the Treasury
Regulations that have been promulgated pursuant to Section 1060 of the Code and similar
applicable state Laws and regulations.

               2.7    Cash Out Option for Credit Bid. In lieu of any applicable Prepetition First
Lien Lender receiving a direct or indirect interest in the Purchased Assets, the Purchaser may
exercise the Cash Out Option.

                2.8     Closing. The closing (the “Closing”) of the purchase and sale of the
Purchased Assets and the assumption of the Assumed Liabilities shall take place on May 15, 2020
(or such other date agreed to by the Seller) subject to satisfaction of the conditions set forth in
Section 10 (other than those requiring a delivery, or the taking of other action, at the Closing),
remotely via the electronic exchange of documents and signatures, no later than five (5) Business
Days after satisfaction of the conditions set forth in Section 10 (other than those requiring a
delivery, or the taking of other action, at the Closing), or at such other time or place as Purchaser
and Seller may agree; provided that the Closing shall be effective as of 12:01 a.m. on the Closing
Date.

               2.9    Deliveries by Seller. At the Closing, Seller will deliver or cause to be
delivered to Purchaser (unless delivered previously) the following:

                      (a)     a Bill of Sale (the “Bill of Sale”), Assignment and Assumption
       Agreement (the “Assignment and Assumption Agreement”) and Intellectual Property
       Assignment and Assumption Agreement (the “IP Assignment and Assumption
       Agreement”), substantially in the form attached hereto as Exhibit B, Exhibit C and Exhibit
       D, respectively, in each case duly executed by Seller;




                                                 21
39748401v22
Case 20-61065-pwb        Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                                Document    Page 26 of 92



                       (b)    originals (or, to the extent originals are not available, copies) of all
       Assigned Contracts (together with all material amendments, supplements or modifications
       thereto) to the extent not otherwise already made available to the Purchaser through the
       Seller’s datasite;

                     (c)    physical possession of all of the Purchased Assets capable of passing
       by delivery with the intent that title in such Purchased Assets shall pass by and upon
       delivery;

                      (d)    an affidavit from Seller, sworn under penalty of perjury and dated
       as of the Closing Date, in form and substance required under the Treasury Regulations
       issued pursuant to Section 1445 of the Code stating that Seller is not a foreign person as
       defined in Section 1445 of the Code;

                      (e)    certificates of title and title transfer documents to all titled motor
       vehicles included within the Purchased Assets;

                       (f)     the officer’s certificates required to be delivered pursuant to Section
       10.2(d);

                       (g)     the Management Agreement duly executed by the Seller;

                       (h)     Deeds with respect to the Owned Real Property, executed by Seller;
       and

                      (i)     all other documents, instruments and writings reasonably requested
       by Purchaser to be delivered by Seller at or prior to the Closing pursuant to this Agreement.

               2.10 Deliveries by Purchaser. At the Closing, Purchaser will deliver or cause to
be delivered to Seller (unless previously delivered) the following:

                       (a)     the Purchase Price, in the form of the Credit Bid, in form reasonably
       satisfactory to Seller;

                    (b)   the Bill of Sale, Assignment and Assumption Agreement and IP
       Assignment and Assumption Agreement, in each case duly executed by Purchaser;

                       (c)     the Management Agreement duly executed by the Purchaser; and

                       (d)     all other documents, instruments and writings reasonably requested
       by Seller to be delivered by Purchaser at or prior to the Closing pursuant to this Agreement.

               2.11 Farmer’s Liens. Seller shall be obligated to pay, satisfy and discharge any
and all Farmer’s Liens that are outstanding as of the Closing with respect to the Purchased Assets.

               2.12 Bulk Sales Laws. Purchaser hereby waives compliance by Seller with the
requirements and provisions of any “bulk-transfer” Laws of any jurisdiction that may otherwise
be applicable with respect to the sale and transfer of any or all of the Purchased Assets to Purchaser.


                                                  22
39748401v22
Case 20-61065-pwb        Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                 Desc Main
                                Document    Page 27 of 92



        3.      Representations and Warranties of Seller. Subject to the terms, conditions and
limitations set forth in this Agreement, Seller hereby represents and warrants to Purchaser as of
the date of this Agreement and as of the Closing Date as follows:

                3.1     Organization and Good Standing. Seller is an entity duly organized,
incorporated or formed, validly existing and in good standing under the Laws of the jurisdiction
listed for Seller in the Preamble, and has all power and authority to own, lease and operate its
properties, including the Purchased Assets, and to carry on the Business as now being conducted.
Seller is duly qualified or authorized to do business in each jurisdiction in which the nature of the
business conducted by it or the character or location of the properties owned or leased by it requires
such qualification or authorization, except where the failures to be so qualified, authorized or in
good standing would not, individually or in the aggregate, reasonably be expected to have a
Material Adverse Effect.

                3.2     Due Authorization. Subject to the entry of the Sale Order, Seller has all
power, authority and legal capacity to execute and deliver this Agreement and the Ancillary
Documents to which Seller is a party, to perform their respective obligations hereunder and
thereunder and to consummate the transactions contemplated hereby and thereby. Subject to the
entry of the Sale Order, the execution and delivery of this Agreement and the Ancillary Documents
to which Seller is a party and the consummation of the transactions contemplated hereby and
thereby have been duly authorized by all necessary actions on the part of Seller and no other
corporate action on the part of Seller is necessary to authorize the execution and delivery of this
Agreement and the Ancillary Documents to which Seller is a party by Seller and the consummation
of the transactions contemplated hereby and thereby by Seller. Subject to the entry of the Sale
Order, this Agreement and each of the Ancillary Documents to which Seller is a party has been
duly and validly executed and delivered by Seller and, subject to entry by the Bankruptcy Court
of the Sale Order in the Bankruptcy Case, this Agreement and each of the Ancillary Documents to
which Seller is a party constitutes a legal, valid and binding agreement of Seller that is enforceable
against Seller in accordance with its terms.

               3.3    Governmental Authorization. Except as disclosed on Schedule 3.3, the
execution, delivery and performance by Seller of this Agreement and the consummation of the
Transactions by Seller require no action by or in respect of, or filing with, any Governmental
Authority other than (a) consents, approvals or authorizations of, or declarations or filings with,
the Bankruptcy Court, and (b) any such action or filing as to which the failure to make or obtain
would not have a Material Adverse Effect.

               3.4     Noncontravention. Subject to entry by the Bankruptcy Court of the Sale
Order in the Bankruptcy Case, the execution, delivery and performance by Seller of this Agreement
and the consummation of the Transactions do not and will not (a) violate Seller’s organizational
documents, (b) assuming compliance with the matters referred to in Section 3.3, materially violate
any applicable Law, (c) except as to matters which would not reasonably be expected to have a
Material Adverse Effect, constitute a default under or give rise to any right of termination,
cancellation or acceleration of any right or obligation or to a loss of any benefit relating to any
Purchased Asset to which Seller is entitled under any provision of any Contract binding upon
Seller except for breaches and defaults referred to in Section 365(b)(2) of the Bankruptcy Code,


                                                 23
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                               Document    Page 28 of 92



or (d) result in the creation or imposition of any Lien on any Purchased Asset, except for Permitted
Liens, Assumed Liabilities or Liens that will be released at or prior to Closing.

                3.5    Required Consents. Except for consents, approvals or authorizations of, or
declarations or filings with, the Bankruptcy Court, and except as otherwise set forth on
Schedule 3.5, there is no Contract binding upon Seller requiring a consent or other action by any
Person as a result of the execution, delivery and performance of this Agreement, except such
consents or actions as would not, individually or in the aggregate, have a Material Adverse Effect
if not received or taken by the Closing Date.

                3.6     Litigation. Except as disclosed on Schedule 3.6, as of the date hereof, there
is no action, suit, investigation or proceeding pending against, or to the Knowledge of Seller,
threatened against or affecting, the Purchased Assets before any Governmental Authority which is
reasonably likely to have a Material Adverse Effect or which in any manner challenges or seeks
to prevent, enjoin, alter or materially delay the Transactions.

                3.7      Permits. To the Knowledge of Seller, Schedule 3.7 sets forth a complete
and correct list of all Permits required to conduct and operate the Business in a manner consistent
with the current practices of Seller. Except as set forth on Schedule 3.7, to the Knowledge of
Seller, (a) Seller is in material compliance with the terms and requirements of each such Permit;
and (b) no written notice of violation of any Permit has been received from any Governmental
Authority and, to the Knowledge of Seller no proceeding is pending seeking to revoke or limit any
such Permit.

               3.8     Intellectual Property Rights.

                       (a)     Schedule 3.8(a) sets forth an accurate and complete list of all Owned
       Intellectual Property included in the Purchased Assets for which Seller has received or
       applied for a registration or issuance, including, without limitation, any patent, patent
       application, copyright registration or application therefor, and trademark, trade name,
       service mark, domain name registration or application therefor (“Registered Owned
       Intellectual Property”). To the Knowledge of Seller, all of the Registered Owned
       Intellectual Property is subsisting, valid and enforceable.

                      (b)     Except as set forth on Schedule 3.8(b), (i) Seller owns or has valid
       and enforceable Intellectual Property Licenses to use all material Intellectual Property
       Rights owned or used by it, and (ii) to the Knowledge of Seller, the Owned Intellectual
       Property and Licensed Intellectual Property constitute all Intellectual Property Rights used
       in the Business as currently conducted.

                       (c)    Except as set forth on Schedule 3.8(c), none of the Owned
       Intellectual Property or Licensed Intellectual Property is subject to any Legal Proceeding
       and there exist no challenges received or outstanding to the validity, enforceability,
       ownership or use by Seller of the Intellectual Property Rights, nor any alleged
       infringements of such Intellectual Property Rights by third parties.




                                                 24
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                               Document    Page 29 of 92



                     (d)     Except as set forth on Schedule 3.8(d), none of the Intellectual
       Property Rights included in the Purchased Assets have been licensed by Seller to any other
       Person.

                      (e)     Schedule 3.8(e) sets forth all material Intellectual Property Licenses
       to which Seller is a party. Except as set forth on Schedule 3.8(e), Seller has not received
       any written notice of any default or any event that with notice or lapse of time, or both,
       would constitute a default under any material Intellectual Property License.

                       (f)      To the Knowledge of Seller, Seller and its products or services is not
       currently infringing, misappropriating or otherwise violating, and the operation of the
       Business as currently conducted does not infringe, misappropriate or violate, any
       Intellectual Property Rights of any Person, except for any infringement, misappropriation
       or violation that is not and would not reasonably be expected to be material to the Business.
       Except as set forth on Schedule 3.8(f), to the Knowledge of Seller, no Person is currently
       infringing, misappropriating or violating any of the Owned Intellectual Property included
       in the Purchased Assets.

                       (g)    To the Knowledge of Seller, (i) except as set forth on Schedule
       3.8(g), Seller has not experienced any material failures, disruptions, unauthorized
       intrusions or breaches of its information technology or telecommunications networks, nor
       any material loss, theft or unauthorized access to or use of any personal information held
       by or on behalf of Seller, and (ii) Seller has implemented industry standard security
       measures to protect the security of its information technology and telecommunications
       networks and systems and the privacy and security of any material data or personal
       information stored thereon. Schedule 3.8(g) includes a description of the Data Breach,
       which is true, complete and correct in all material respects. The identities and addresses
       of Seller’s customers (and/or other holders of credit and debit cards) impacted by the Data
       Breach is not readily ascertainable from Seller’s books and records or otherwise.

                      (h)     Seller and its Affiliates shall not retain any Intellectual Property
       Rights as of the Closing.

                3.9     Compliance with Laws and Court Orders. To the Knowledge of Seller,
Seller is not in violation of any Law applicable to the Purchased Assets or the conduct of the
Business, except for violations which would not reasonably be expected to have a Material
Adverse Effect.

                3.10 Environmental Matters. Other than as may be set forth in the reports
described on Schedule 3.10, Seller has not received written notice from any Governmental
Authority or third party of any violation of or failure to comply with any Environmental Laws with
respect to the Leased Real Property which to the Knowledge of Seller remains uncorrected, or of
any obligation to undertake or bear the cost of any remediation with respect to the Leased Real
Property which to the Knowledge of Seller remains unperformed.

               3.11   Employee Benefit Plans.



                                                 25
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                 Desc Main
                               Document    Page 30 of 92



                       (a)      Schedule 3.11(a) sets forth a complete and accurate list of Seller’s
       Employee Benefit Plans. Seller has provided to, or made available to, Purchaser true and
       correct copies of each Employee Benefit Plan (including all plan documents and
       amendments thereto). Except as set forth on Schedule 3.11(a), to the Knowledge of Seller,
       each Employee Benefit Plan has been established, maintained, funded and administered in
       material compliance with its terms and all applicable requirements of ERISA, the Code,
       and other applicable Laws. Except as set forth on Schedule 3.11(a), to the Knowledge of
       Seller, each Employee Benefit Plan which is intended to be qualified within the meaning
       of Code § 401(a) is so qualified and has received a favorable determination letter from the
       Internal Revenue Service upon which it may rely, or is comprised of a master or prototype
       plan that has received a favorable opinion letter from the Internal Revenue Service, and to
       the Knowledge of Seller, nothing has occurred that is reasonably likely to adversely affect
       the qualified status of such Employee Benefit Plan. Except as set forth on Schedule 3.11(a),
       no Employee Benefit Plan is subject to Title IV or Section 302 of ERISA or Section 412
       of the Code, and Seller and its ERISA Affiliates do not contribute to nor have any liability
       with respect to any such plan.

                      (b)    Seller and its ERISA Affiliates are not a party to any Multiemployer
       Plan. As of the date of this Agreement, Seller and its ERISA Affiliates have not incurred
       any unsatisfied withdrawal liability with respect to any Multiemployer Plan, and Seller and
       its ERISA Affiliates are not bound by any contract or has any liability described in
       Section 4204 of ERISA.

                     (c)     Except as set forth on Schedule 3.11(c), with respect to each
       Employee Benefit Plan, all payments, premiums, contributions, distributions,
       reimbursements or accruals for all periods (or partial periods) ending prior to or as of the
       Closing Date shall have been timely made in accordance with the terms of the applicable
       Employee Benefit Plan and applicable Law.

                3.12 Personnel Matters. Seller has provided to Purchaser an accurate and
complete list of the names, job classifications, dates of hire, base compensation, and any
supplemental or bonus compensation (including any retention bonus arrangements) for all salaried
employees of Seller. To the Knowledge of Seller and except as to matters which would not
reasonably be expected to have a Material Adverse Effect, Seller is currently complying and has
for the past 5 years complied with all Employment-Related Laws and Obligations, which means
all Laws and Orders of any Governmental Authority relating to, touching upon or concerning the
employment of the employees who perform work in connection with the operation of the Business,
including relating to the hiring, firing and treatment of employees, or any legal obligation or duty
regarding employment practices, terms and conditions of employment, equal opportunity, non-
discrimination, discharge, immigration, anti-harassment, anti-retaliation, whistle blowing,
compensation, wages, overtime payments, hours, benefits, collective bargaining, pension plans,
the modification or termination of benefit plans and retiree health insurance plans, policies,
programs, agreements, occupational safety and health, workers’ compensation or other similar
benefits and payments on account of occupational illness and injuries, employment contracts,
collective bargaining agreements, grievances originating under the collective bargaining
agreements, wrongful discharge, torts such as invasion of privacy, infliction of emotional distress,
defamation, and slander (hereinafter “Employment-Related Laws and Obligations”). Additionally,

                                                26
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                   Desc Main
                               Document    Page 31 of 92



to the Knowledge of Seller, there are no threatened or pending charges, complaints, demands,
lawsuits, or petitions against, or investigations being conducted of Seller concerning or relating to
any alleged violations of, or failure to comply with, any Employment-Related Laws and
Obligations, except as set forth on Schedule 3.12, except for such matters that would not have a
Material Adverse Effect. To the Knowledge of Seller, there are no, and there has not occurred
during the past 5 years, any union organizing campaigns or certification or representation demands
or proceedings or campaigns that relate to the Business or any person or entity performing services
for Seller and no such action or activity has been threatened. There are no organizing activities
involving Seller pending with any labor organization or group of employees. No individuals or
groups of individuals performing services for, on, or in connection with the Business are
represented by a labor union or covered by a collective bargaining agreement, and no collective
bargaining agreement, card check or recognition agreement, or any other agreement or
arrangement with any labor union affects the operation of any Purchased Asset or any employees
of Seller. There are no existing or, to the Knowledge of Seller, threatened labor strikes, lockouts,
walkouts, work stoppages, organized slowdowns, unfair labor practice charges or complaints,
labor arbitration proceedings affecting or relating to any employees of Seller or the Purchased
Assets, and Seller has not experienced any such event within the past 5 years.

               3.13    Sufficiency of and Title to the Purchased Assets.

                       (a)     Seller will have at Closing good and marketable title to, or a valid
       leasehold interest in, all of the Purchased Assets. Upon consummation of the Transactions
       at the Closing, Purchaser will have acquired good, valid and marketable title in and to, or
       a valid leasehold interest in, each of the Purchased Assets, free and clear of all Liens (other
       than Assumed Liabilities) to the maximum extent permitted by Sections 363 and 365 of
       the Bankruptcy Code.

                        (b)    The Purchased Assets (which, for the avoidance of doubt, do not
       include Excluded Assets) constitute all of the assets, rights, interests and properties of every
       nature and kind whatsoever used (to the extent Seller holds rights, title and interest in such
       tangible personal property) or held for use by Seller, or otherwise necessary for Purchaser
       to conduct and operate the Purchased Assets and the Business (assuming that the Purchased
       Assets include all assets that the Purchaser has the right to acquire under this Agreement)
       immediately after the Closing in all material respects as conducted and operated by Seller
       as presently conducted. No Person other than Seller is engaged in the operation of, or holds
       rights, title and interest in, the Purchased Assets or assets that are used or useful in the
       operation of the Business.

                     (c)      K-Square Acquisition Co., LLC and Krystal Holdings, Inc. do not
       own any assets, other than equity interests in other Debtors, potential tax refunds, and rights
       and claims under insurance policies.

               3.14    Owned Real Property.

                      (a)     Schedule 3.14(a) contains a true, complete and correct list of all
       Owned Real Property. Seller is the sole owner of the Owned Real Property and, except as
       set forth on Schedule 3.14(a), holds the Owned Real Property in fee simple with good and

                                                 27
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                   Desc Main
                               Document    Page 32 of 92



       marketable title. With respect to the Owned Real Property: (i) except as set forth in
       Schedule 3.14(a), Seller has not leased or otherwise granted to any person the right to use
       or occupy such Owned Real Property or any portion thereof; and (ii) except as may
       otherwise be disclosed by the Permitted Liens and other than the right of Purchaser
       pursuant to this Agreement, there are no pending or outstanding contracts of sale, leases,
       options to purchase, rights of first offer or rights of first refusal or other agreements (other
       than Permitted Liens) which affect the Owned Real Property or any portion thereof or
       interest therein.

                      (b)     The current use and occupancy of the Owned Real Property and the
       operation of the Business as currently conducted thereon do not violate any easement,
       covenant, condition, restriction or similar provision in any instrument of record or, to the
       Knowledge of Seller, other unrecorded agreement affecting such Owned Real Property (for
       the purposes of this Section 3.14(b), the “Encumbrance Documents”). The Seller has not
       received any notice of violation of any Encumbrance Documents and there is no basis for
       the issuance of any such notice or the taking of any action for such violation.

              3.15    Leased Real Property.

                      (a)     The Leased Real Property constitutes all of the real property used
       by Seller in connection with the Business.

                    (b)    Except as set forth on Schedule 3.15(b), to the Knowledge of Seller,
       none of the Leased Real Property is subject to an eminent domain or condemnation
       proceeding.

                      (c)     Except as set forth on Schedule 3.15(c), Seller does not own any real
       property in fee.

                     (d)     Schedule 3.15(d) lists each lease or sublease, including all
       amendments, modifications or supplements thereof, pursuant to which Seller occupies any
       Leased Real Property (collectively, the “Real Property Leases”). The Seller has delivered
       (or otherwise made available) to the Purchaser a correct and complete copy of each Real
       Property Lease, together with all amendments thereto.

              3.16    Contracts.

                       (a)     Schedule 3.16(a) lists the following Contracts (all Contracts listed
       or required to be listed herein are referred to as “Material Contracts”) as of the date of this
       Agreement:

                              (i)     all Real Property Leases;

                              (ii)    all Franchise Agreements;

                             (iii) all employment, confidentiality and/or noncompetition
              Contracts with employees of Seller and Contracts with independent contractors or
              consultants (or similar arrangements) engaged in connection with the Business;

                                                 28
39748401v22
Case 20-61065-pwb        Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                 Desc Main
                                Document    Page 33 of 92



                             (iv)   all Contracts under which Seller leases personal property in
               connection with the Business;

                               (v)     all Contracts with any material supplier of the Business;

                               (vi)    all Contracts with any Governmental Authority related to the
               Business;

                               (vii)   all Post-Petition Contracts; and

                             (viii) all Contracts with credit card processors or otherwise
               pertaining to Credit Card Receivables or Credit Card Liabilities (collectively,
               “Credit Card Contracts”).

                      (b)    Seller has made available to Purchaser true and complete copies of
       such Material Contracts and any and all amendments, modifications, supplements, exhibits
       and restatements thereto and thereof in effect as of the date of this Agreement.

                       (c)     Except as to matters which would not reasonably be expected to
       have a Material Adverse Effect and except as set forth on Schedule 3.16(c), each of the
       Material Contracts is in full force and effect and is the legal, valid and binding obligation
       of Seller and of the other parties thereto, enforceable against it in accordance with its terms
       and, upon consummation of the Transactions, shall continue in full force and effect without
       penalty or other adverse consequence. Except as set forth on Schedule 3.16(c), Seller is
       not in default under any Material Contract, nor, to the Knowledge of Seller, is any other
       party to any Material Contract in breach of or default thereunder, and no event has occurred
       that with the lapse of time or the giving of notice or both would constitute a breach or
       default by Seller or any other party thereunder. Except as set forth on Schedule 3.16(c),
       no party to any of the Material Contracts has exercised any termination rights with respect
       thereto, and no party has given notice of any significant dispute with respect to any Material
       Contract.

                       (d)    Except as set forth on Schedule 3.16(d), to the Knowledge of Seller,
       Seller has not received any written notice from any Person asserting a Claim with respect
       to the Data Breach.

                   (e)     The Post-Petition Contracts collectively do not require the Seller to
       make payments in excess of $275,000 over a twelve-month period.

               3.17 Financial Statements. Schedule 3.17 contains a true and correct copy of the
unaudited consolidated balance sheet of Seller as at December 31, 2019 and the related
consolidated statement of income and cash flows of Seller for the 12-month period then ended.
The financial statements referred to in the foregoing sentence are collectively referred to as the
“Financial Statements.” The Financial Statements have been prepared from the books and records
of Seller on an accrual basis consistent with Seller’s internal accounting practices. Each of the
Financial Statements were prepared in accordance with GAAP consistently applied without
modification of the accounting principles used in preparation thereof throughout the periods
presented and presents fairly in all material respects the consolidated financial position, results of

                                                 29
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                               Document    Page 34 of 92



operations and cash flows of Seller as at the dates and for the periods indicated therein, subject to
normal year-end adjustments and the absence of complete notes in the case of the unaudited
statements. The Seller’s monthly operating reports and statements of financial affairs filed with
the Bankruptcy Court are true and correct in all material respects as of the date of such filing.

               3.18 Certain Fees. Except for the fees and expenses of Piper Jaffray & Co., for
which Seller shall be solely responsible, Seller has not incurred any liability for any investment
banking fees, brokerage fees, finders’ fees, or other similar fees in connection with this Agreement
or the Transactions.

               3.19 Absence of Certain Changes. Except (a) as set forth on Schedule 3.19 and
(b) for the commencement or pendency of the Bankruptcy Case, since December 31, 2019 there
has been no event or condition that has had (or is reasonably likely to result in) a Material Adverse
Effect.

               3.20    Taxes. Except as set forth in Schedule 3.20:

                       (a)    Seller has duly and timely filed all income and other material Tax
       Returns that it was required to file, and all such filed Tax Returns were true, correct and
       complete in all material respects. All material Taxes owed by the Seller and all material
       Taxes owed with respect to the Purchased Assets and the Business (in each case, whether
       or not shown on any Tax Return) have been timely paid.

                      (b)    To the Knowledge of Seller, there is no audit, examination, dispute,
       claim or controversy concerning any Tax Liability or Tax Return of Seller or with respect
       to the Purchased Assets or the Business in progress or pending by any Taxing Authority.

                      (c)      Seller has collected or withheld all material Taxes required to have
       been collected or withheld (including from payments made to employees, independent
       contractors, creditors, stockholders and other Persons) and such collected and withheld
       Taxes have been or will be duly and timely paid to the proper Taxing Authority, and Seller
       has complied in all material respects with all Laws relating to collection and withholding,
       including any reporting and record keeping requirements.

           3.21 “AS IS” TRANSACTION. PURCHASER HEREBY ACKNOWLEDGES
AND AGREES THAT, NOTWITHSTANDING THE REPRESENTATIONS AND
WARRANTIES EXPRESSLY PROVIDED IN THIS SECTION 3, THE CONSENT OF A
PARTY TO THE CLOSING SHALL CONSTITUTE A WAIVER BY SUCH PARTY OF ANY
CONDITIONS TO CLOSING NOT SATISFIED AS OF THE CLOSING DATE, AND
FOLLOWING CLOSING SELLER MAKES NO REPRESENTATIONS OR WARRANTIES
WHATSOEVER, EXPRESS OR IMPLIED, WITH RESPECT TO ANY MATTER RELATING
TO THE PURCHASED ASSETS, INCLUDING INCOME TO BE DERIVED OR EXPENSES
TO BE INCURRED IN CONNECTION WITH THE PURCHASED ASSETS, THE PHYSICAL
CONDITION OF ANY PERSONAL OR REAL PROPERTY COMPRISING A PART OF THE
PURCHASED ASSETS OR WHICH IS THE SUBJECT OF ANY LEASE OR CONTRACT TO
BE ASSIGNED TO PURCHASER AT THE CLOSING, THE ENVIRONMENTAL
CONDITION OR ANY OTHER MATTER RELATING TO THE PHYSICAL CONDITION OF


                                                 30
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                 Desc Main
                               Document    Page 35 of 92



ANY REAL PROPERTY OR IMPROVEMENTS, THE ZONING OF ANY SUCH REAL
PROPERTY OR IMPROVEMENTS, THE VALUE OF THE PURCHASED ASSETS (OR ANY
PORTION THEREOF), THE TRANSFERABILITY OF THE PURCHASED ASSETS, THE
TERMS, AMOUNT, VALIDITY OR ENFORCEABILITY OF ANY ASSUMED LIABILITIES,
THE TITLE OF THE PURCHASED ASSETS (OR ANY PORTION THEREOF), THE
MERCHANTABILITY OR FITNESS OF THE PERSONAL PROPERTY OR ANY OTHER
PORTION OF THE PURCHASED ASSETS FOR ANY PARTICULAR PURPOSE, OR ANY
OTHER MATTER OR THING RELATING TO THE PURCHASED ASSETS OR ANY
PORTION THEREOF. WITHOUT IN ANY WAY LIMITING THE FOREGOING, SELLER
HEREBY DISCLAIMS ANY WARRANTY, EXPRESS OR IMPLIED, OF
MERCHANTABILITY OR FITNESS FOR ANY PARTICULAR PURPOSE AS TO ANY
PORTION OF THE PURCHASED ASSETS. PURCHASER FURTHER ACKNOWLEDGES
THAT PURCHASER HAS CONDUCTED AN INDEPENDENT INSPECTION AND
INVESTIGATION OF THE PHYSICAL CONDITION OF THE PURCHASED ASSETS AND
ALL SUCH OTHER MATTERS RELATING TO OR AFFECTING THE PURCHASED
ASSETS AS PURCHASER DEEMED NECESSARY OR APPROPRIATE AND THAT IN
PROCEEDING WITH ITS ACQUISITION OF THE PURCHASED ASSETS, EXCEPT FOR
ANY REPRESENTATIONS AND WARRANTIES EXPRESSLY SET FORTH IN SECTION 3,
PURCHASER IS DOING SO BASED SOLELY UPON SUCH INDEPENDENT INSPECTIONS
AND INVESTIGATIONS. ACCORDINGLY, UPON THE CLOSING DATE, PURCHASER
WILL ACCEPT THE PURCHASED ASSETS AT THE CLOSING “AS IS,” “WHERE IS,” AND
“WITH ALL FAULTS.”

       4.      Representations and Warranties of Purchaser. Purchaser represents and
warrants to Seller as of the date of this Agreement and as of the Closing Date as follows:

                4.1    Organization. Purchaser is a limited liability company duly organized,
validly existing and in good standing under the Laws of Delaware and has all requisite power and
authority to own, lease and operate its properties and to carry on its business as now conducted,
except where the failure to have such power and authority would not have a Purchaser Material
Adverse Effect.

               4.2    Corporate Authorization. The execution, delivery and performance by
Purchaser of this Agreement and the Ancillary Documents to which Purchaser is a party and the
consummation of the transactions contemplated hereby and thereby are within the powers and
authority of Purchaser and have been duly authorized by all necessary actions on the part of
Purchaser. This Agreement and the Ancillary Documents to which Purchaser is a party constitutes
a valid and binding agreement of Purchaser that is enforceable in accordance with its terms.

                4.3     Governmental Authorization. The execution, delivery and performance by
Purchaser of this Agreement and the Ancillary Documents to which Purchaser is a party and the
consummation of the transactions contemplated hereby and thereby by Purchaser require no action
by or in respect of, or filing with, any Governmental Authority other than (a) consents, approvals
or authorizations of, or declarations or filings with, the Bankruptcy Court, and (b) any such action
or filing as to which the failure to make or obtain would not have a Purchaser Material Adverse
Effect.


                                                31
39748401v22
Case 20-61065-pwb        Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                                Document    Page 36 of 92



                 4.4    Noncontravention. Neither the execution and delivery of this Agreement or
the Ancillary Documents to which Purchaser is a party nor the consummation of the transactions
contemplated hereby or thereby will (a) conflict with or result in any breach of any provision of
the organizational documents of Purchaser; (b) require any filing with, or the obtaining of any
permit, authorization, consent or approval of, any Governmental Authority; (c) violate, conflict
with or result in a default (or any event which, with notice or lapse of time or both, would constitute
a default) under, or give rise to any right of termination, cancellation or acceleration under, any of
the terms, conditions or provisions of any Contract to which Purchaser is a party or by which
Purchaser or any of its assets may be bound; or (d) violate any Law applicable to Purchaser,
excluding from the foregoing clauses (b), (c) and (d) such requirements, violations, conflicts,
defaults, terminations, cancellations or rights (i) which would not have a Purchaser Material
Adverse Effect, or (ii) which become applicable as a result of any acts or omissions by, or the
status of or any facts pertaining to, Seller.

                4.5   Financing. Purchaser has sufficient cash or other sources of immediately
available funds to enable it to make payment of the Purchase Price and any other amounts to be
paid by it hereunder.

              4.6     Litigation. There is no Legal Proceeding pending against or, to the
knowledge of Purchaser, threatened against Purchaser before any Governmental Authority
expected to have a Purchaser Material Adverse Effect.

               4.7    Certain Fees. Except as set forth on Schedule 4.7, Purchaser has not
employed any broker, finder, investment banker, or other intermediary or incurred any liability for
any investment banking fees, financial advisory fees, brokerage fees, finders’ fees, or other similar
fees in connection with this Agreement or the Transactions.

                4.8     Inspections; No Other Representations. Purchaser is an informed and
sophisticated purchaser, and has engaged expert advisors, experienced in the evaluation and
purchase of properties and assets such as the Purchased Assets and assumption of liabilities such
as the Assumed Liabilities as contemplated hereunder. Purchaser has undertaken such
investigation and has been provided with and has evaluated such documents and information as it
has deemed necessary to enable it to make an informed and intelligent decision with respect to the
execution, delivery and performance of this Agreement. Purchaser acknowledges that Seller has
given Purchaser reasonable and open access to the key employees, documents and facilities of the
Business. Purchaser acknowledges and agrees that the Purchased Assets are being sold on an “as
is, where is” basis and Purchaser agrees to accept the Purchased Assets and the Assumed Liabilities
in the condition they are in on the Closing Date based on its own inspection, examination and
determination with respect to all matters and without reliance upon any express or implied
representations or warranties of any nature made by or on behalf of or imputed to Seller, except as
expressly set forth in this Agreement. Without limiting the generality of the foregoing, Purchaser
acknowledges that Seller makes no representation or warranty with respect to (a) any projections,
estimates or budgets delivered to or made available to Purchaser of future revenues, future results
of operations (or any component thereof), future cash flows or future financial condition (or any
component thereof) of the Business or the future prospects or operations of the Business or (b) any
other information or documents made available to Purchaser or its counsel, accountants or advisors


                                                  32
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                 Desc Main
                               Document    Page 37 of 92



with respect to the Business, except as expressly set forth in this Agreement.            Purchaser
acknowledges and agrees with the provisions of Section 3.21 herein.

       5.      Covenants of Seller. Seller agrees that:

                5.1     Conduct of the Business. From the date hereof until the earlier of the
termination of this Agreement pursuant to Section 12.1 or the Closing Date, except (i) as disclosed
on Schedule 5.1, (ii) as may be required by the Bankruptcy Court, (iii) for the consequences
resulting from the continuation of the Bankruptcy Case, or (iv) as may be required or contemplated
by this Agreement, Seller shall conduct the Business and maintain the Purchased Assets in the
ordinary course and use its commercially reasonable efforts to preserve intact the Purchased Assets
(and all goodwill relating thereto) and all respective relationships with customers, vendors,
creditors, employees, landlords, agents, and others having business relationships with them.
Without limiting the generality of the foregoing, during the period from the date of this Agreement
to the Closing, except as otherwise contemplated by this Agreement or as Purchaser shall otherwise
consent in advance in writing, Seller shall do the following:

                     (a)    pay all undisputed post-petition bills and invoices for post-petition
       goods or services promptly when due (except for amounts reflected on Schedule 5.1(a))
       through the Closing Date;

                       (b)    notify Purchaser of any material adverse change in its condition
       (financial or otherwise), business, properties, assets or liabilities, or of the commencement
       of or any material development or disposition with respect to any material governmental
       complaints, investigations, or hearings (or any written threats thereof);

                      (c)     use its commercially reasonable efforts to keep and maintain
       possession of and compliance with the terms of all Permits necessary or required by Law
       to own, lease and operate its respective properties (including the Purchased Assets) and to
       carry on the Business or that are material to the operation of the Business or the Purchased
       Assets, including by taking all actions and submitting all payments, applications, and
       filings necessary to renew any such Permit due to expire at any time before the Closing
       Date; and

                     (d)    maintain insurance coverage with financially responsible insurance
       companies substantially similar in all material respects to the insurance coverage
       maintained by the Business and Seller on the Petition Date; and

                       (e)     Seller shall process the payroll for and pay, or cause to be paid, the
       base wages, base salary and benefits that are due and payable on or prior to the Closing
       Date with respect to all employees of Seller. Seller shall withhold and remit all applicable
       payroll taxes (to the extent not included in Assumed Liabilities) as required by Law on or
       prior to the Closing Date with respect to all employees of Seller as of such date.

                5.2    Certain Restricted Conduct. Except as set forth on Schedule 5.2 and except
as otherwise set forth in this Agreement or as Purchaser shall otherwise consent in advance in
writing, during the period from the date of this Agreement to the Closing, Seller shall not, with
respect to the Purchased Assets:

                                                33
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                               Document    Page 38 of 92



                      (a)    sell, lease, license, transfer, or dispose of other than in the ordinary
       course of business any Purchased Assets;

                      (b)     authorize or enter into any Contract, arrangement, or commitment
       other than a Contract that is in the ordinary course of business;

                       (c)     dispose of or permit to lapse any rights in, to or for the use of any
       Intellectual Property Right that is part of the Purchased Assets, or grant a license, release,
       immunity or covenant not to sue under any Owned Intellectual Property or Licensed
       Intellectual Property, other than non-exclusive licenses of Owned Intellectual Property
       granted by Seller in the ordinary course of business to a service provider (where such
       license is granted solely for the benefit of Seller) or to a customer;

                     (d)      other than in the ordinary course, authorize, undertake, make, or
       enter into any commitments obligating Seller to (i) make or accelerate any capital
       expenditures or (ii) undertake or approve any material renovation or rehabilitation of any
       Leased Real Property;

                        (e)    (i) increase any compensation payable to or to become payable to,
       or enter into or amend any employment, severance or other agreement with, any of Seller’s
       officers, directors or salaried employees, (ii) increase any compensation payable to or to
       become payable by Seller to any other employee of Seller, except in the ordinary course of
       business, (iii) grant any unusual or extraordinary bonus, benefit or other direct or indirect
       compensation to any officer, director or employee, (iv) create or adopt any new Employee
       Benefit Plan or amend or terminate or increase the coverage or benefits available under
       any existing Employee Benefit Plan, (v) hire any employee or individual independent
       contractor with annual compensation in excess of $125,000 (except to the extent such hire
       is in replacement of an existing employee with comparable compensation), or enter into
       any employment, severance, deferred compensation, consulting, non-competition or
       similar agreements to which Seller is a party or involving a director, officer, employee or
       independent contractor of Seller, or (vi) assume, enter into, modify or terminate any labor
       or collective bargaining agreement or, through negotiation or otherwise, make any
       commitment or incur any liability to any labor organization relating to the Business, any
       employee, or any Purchased Asset;

                      (f)    permit, offer, agree or commit (in writing or otherwise) to permit,
       any of the Purchased Assets to become subject, directly or indirectly, to any Lien, except
       for Permitted Liens, Liens already existing prior to the date of this Agreement and Liens
       granted before a Closing in connection with any debtor-in-possession financing facility
       agreement or order, and/or cash collateral agreement;

                      (g)     do any other act that would, to the Knowledge of Seller, cause any
       representation or warranty of Seller in this Agreement to be or become untrue in any
       material respect or intentionally omit to take any action necessary to prevent any such
       representation or warranty from being untrue in any material respect;




                                                34
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                 Desc Main
                               Document    Page 39 of 92



                       (h)     acquire any material properties or assets that would be Purchased
       Assets or sell, assign, transfer, convey, lease or otherwise dispose of (including, without
       limitation, by abandoning, cancelling, letting lapse or forfeiting to the public any Owned
       Intellectual Property or Licensed Intellectual Property) any Purchased Assets (except
       acquisitions of Inventory, equipment and similar assets in the ordinary course of business
       or for the purpose of disposing of obsolete or worthless assets);

                      (i)     cancel or compromise any material debt or claim or waive or release
       any material right of Seller that constitutes a Purchased Asset;

                      (j)    transfer, to the extent that following such transfer such amounts
       would be treated as Excluded Assets, any security deposits, prepaid rentals, unbilled
       charges, fees, deposits or, other than in the ordinary course of business, cash, cash
       equivalents or negotiable instruments, in each case constituting Purchased Assets;

                      (k)    conduct, outside the ordinary course of business, any promotion
       between execution of this Agreement and the Closing Date on gift card sales, coupons or
       rebates or conduct any other promotion that would have the effect of increasing the amount
       of Assumed Liabilities related to gift cards, coupons ore rebates;

                       (l)    other than in the ordinary course of business, satisfy any Excluded
       Liability with a Purchased Asset;

                      (m)    in each case to the extent it could bind or adversely affect Purchaser
       post-Closing, (A) make, change or revoke any material Tax election, settle or compromise
       any Tax Claim or Liability or enter into a settlement or compromise, or change (or make a
       request to any Taxing Authority to change) any aspect of its method of accounting for Tax
       purposes, or (B) prepare or file any Tax Return (or any amendment thereof) unless such
       Tax Return was prepared in a manner consistent with past practice;

                    (n)     other than in the ordinary course of business, transfer cash from a
       Purchased Location; or

                      (o)     authorize or enter into any Contract, agreement, or commitment
       with respect to any of the foregoing.

                5.3    Access to Information. From the date hereof until the earlier of the
termination of this Agreement pursuant to Section 12.1 or the Closing Date, Seller shall reasonably
afford, and shall cause its officers, employees, attorneys and other agents to reasonably afford, to
Purchaser and its counsel, accountants and other Representatives, access (at reasonable times
during normal business hours) to officers and other employees of Seller for the purposes of
evaluating the Business and all corporate offices, restaurants, warehouses or other facilities,
properties, books, accounts, records and documents of, or relating to, the Business, subject to the
terms of the confidentiality provisions in the Credit Agreement. All access to the officers,
employees, properties, restaurants, books, accounts, records and/or documents of the Business
shall be arranged on behalf of Seller by Representatives of Alvarez & Marsal.



                                                35
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                   Desc Main
                               Document    Page 40 of 92



                5.4    Notices of Certain Events. Seller shall promptly notify Purchaser of and
deliver copies to Purchaser of:

                      (a)     any notice or other written communication from any Person alleging
       that the consent of such Person is or may be required in connection with the consummation
       of the Transactions;

                       (b)    any material written communication from any Governmental
       Authority in connection with or relating to the Transactions or the Data Breach, including
       with respect to any condemnation or eminent domain event affecting any of the Purchased
       Locations; and

                      (c)     the commencement of any actions, suits, investigations or
       proceedings relating to Seller or the Business that, if pending on the date of this Agreement,
       would have been required to have been disclosed pursuant to Section 3.6.

               5.5    Locations not Purchased.

                        (a)    Within five (5) Business Days after the Closing, Seller shall deliver
       to Purchaser duly and properly authorized and executed evidence (in form and substance
       satisfactory to Purchaser) as to the amendment of Seller’s organizational documents
       (collectively, the “Organizational Amendments”) changing Seller’s name (and the name of
       any applicable Affiliates of Seller) on the Closing Date to another name that does not
       include the word “Krystal”. Seller hereby irrevocably authorizes Purchaser to file the
       Organizational Amendments with the applicable Secretary of State (or equivalent) of
       Seller’s (or its applicable Affiliate’s) jurisdiction of formation and in each State in which
       Seller (or its applicable Affiliate) is qualified to do business on Seller’s or its applicable
       Affiliate’s behalf.

                       (b)      Within sixty (60) days after the Closing, Seller shall, and shall cause
       any of its Affiliates to, discontinue the use of its current name (and any other trade name
       or d/b/a currently utilized by Seller or such Affiliate) and shall not subsequently change its
       name to or otherwise use or employ any name that includes the word “Krystal” without the
       prior written consent of Purchaser. From and after the Closing, Seller, on behalf of itself
       and its Affiliates, covenants and agrees not to use or otherwise employ any trade name,
       corporate or entity name, d/b/a or similar Intellectual Property Right or attribute previous
       utilized by Seller or any applicable Affiliate of Seller or thereafter utilized by Purchaser in
       the conduct of the Business, which rights shall be included in the Purchased Assets
       purchased hereunder.

              5.6     Data Breach. Prior to Closing, Seller and its Affiliates will cooperate with
Purchaser to ensure the publication (including by Seller posting an update to Seller’s website in
which the Data Breach is disclosed) of one or more notices reasonably calculated to reach: (a)
those customers of Seller who may have been affected by the Data Breach, (b) applicable
Governmental Authorities (including relevant state attorneys general), (c) counterparties to Credit
Card Contracts, and (d) such other Persons as reasonably determined by Purchaser.



                                                 36
39748401v22
Case 20-61065-pwb        Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                                Document    Page 41 of 92



       6.      Covenants of Purchaser. Purchaser agrees that:

                6.1     Confidentiality. Prior to the Closing Date and after any termination of this
Agreement, the confidentiality provisions in the Credit Agreement shall remain in full force and
effect. After the Closing has occurred, such provisions shall be terminated to the extent relating to
the Purchased Assets, Assumed Liabilities and the employees of Seller, and shall, with respect to
any of the Excluded Assets and Excluded Liabilities, remain in full force and effect for a period of
two (2) years after the Closing Date.

                 6.2    Access. For a period of two (2) years after the Closing Date, upon
reasonable advance notice and at the sole cost and liability of Seller, Purchaser will afford promptly
to Seller and its counsel, advisors and other agents reasonable access during normal business hours
to Purchaser’s books and records relating to the Purchased Assets to the extent necessary for
financial reporting and accounting matters, the preparation and filing of any tax returns, reports or
forms, the defense of any Tax audit, Claim or assessment, the reconciliation of Claims in the
Bankruptcy Case, to permit Seller to determine any matter relating to its rights and obligations
hereunder, any other reasonable business purpose related to the Excluded Assets or Excluded
Liabilities, or in connection with addressing any other issues arising in connection with or relating
to the Bankruptcy Case; provided, however, that any such access by Seller shall not unreasonably
interfere with the conduct of the business of Purchaser. Seller will hold, and will use its
commercially reasonable efforts to cause its officers, directors, employees, accountants, counsel,
consultants, advisors and agents to hold, in confidence, unless compelled to disclose by judicial or
administrative process or by other requirements of Law, all confidential documents and
information concerning Purchaser or the Business provided to them pursuant to this Section 6.2.
For the avoidance of doubt, for a period of two (2) years after the Closing Date, Purchaser will
also afford any estate-retained representative, including the advisors to the Official Committee of
Unsecured Creditors appointed in the Bankruptcy Case, and any chapter 7 trustee or post-
confirmation trustee, reasonable access during normal business hours to the books and records
relating to the Purchased Assets.

               6.3    Adequate Assurance Information. The Purchaser shall, no later than five (5)
Business Days after the date hereof, provide the Seller with the Purchaser’s Adequate Assurance
Information (as defined in the Bidding Procedures Order). Seller shall provide the Adequate
Assurance Information in accordance with the Bidding Procedures Order and Purchaser shall
provide Seller with such information reasonably required by Seller to comply with the foregoing
obligation.

               6.4     Acquired Inventory and Equipment. The Purchaser shall be responsible for
paying any and all costs, expenses, and liabilities related to the removal, transportation, and storage
of any inventory and equipment that constitute Purchased Assets but are not located at Purchased
Locations.

               6.5     Assumed Liabilities; Pre-Closing Payroll Taxes. Purchaser shall pay or
otherwise satisfy all Assumed Liabilities when they become due, subject to the terms and
conditions thereof as they may be modified between Purchaser and any third-party and otherwise
in accordance with the terms and conditions of this Agreement. Purchaser shall not seek or obtain
any CARES Act Tax Relief pursuant to Section 2302 of the CARES Act with respect to payroll

                                                  37
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                 Desc Main
                               Document    Page 42 of 92



Tax obligations that accrued prior to Closing, and Purchaser shall timely pay when due (without
regard to any ability to defer such obligations under Section 2302 of the CARES Act) all such
obligations to the extent they constitute Assumed Liabilities.

               6.6     Retained Cash Backstop. If the Debtors’ Closing Date Cash is less than the
required Retained Cash, Purchaser agrees to backstop and fund the difference between such the
Retained Cash and the Closing Date Cash (the “Retained Cash Shortfall”) on the Closing Date by
making a payment to Seller of the Retained Cash Shortfall by wire transfer in immediately
available funds at the time of the Closing; provided, however, that under no circumstances shall
Purchaser be required to fund the Retained Cash Shortfall in an amount exceeding $2,000,000.00.

       7.      Covenants of Purchaser and Seller. Purchaser and Seller agree that:

                7.1    Efforts; Further Assurances. Subject to the terms and conditions of this
Agreement, Purchaser and Seller will use their respective commercially reasonable efforts to take,
or cause to be taken, all actions and to do, or cause to be done, all things necessary or desirable
under applicable Laws to consummate the Transactions contemplated by this Agreement;
provided, however, Seller shall be entitled to take such actions as are required in connection with
the discharge of its fiduciary duties during the Bankruptcy Case (including soliciting higher or
better offers for the Purchased Assets). Seller and Purchaser agree to execute and deliver such
other documents, certificates, agreements and other writings and to take such other actions as may
be necessary or desirable in order to vest in Purchaser good title to the Purchased Assets or to
evidence the assumption by Purchaser of the Assumed Liabilities. In no way limiting the
foregoing, Purchaser and Seller shall reasonably cooperate to transfer all Bank Accounts (as such
term is defined in the Cash Management Motion), other than the Wells Fargo Accounts Payable
Account, ending in 8928, and those otherwise included as Purchased Assets pursuant to Section
2.1(v) hereof, from Seller to Purchaser or its designee, but excluding any negative cash balances
in such accounts, and subject to Purchaser bearing any costs associated with the transfer of such
accounts.

                7.2     Certain Filings. Seller and Purchaser shall cooperate with one another in
good faith (a) in determining whether any action by or in respect of, or filing with, any
Governmental Authority is required, or any actions, consents, approvals or waivers are required to
be obtained from parties to any Assigned Contracts or Intellectual Property Rights, in connection
with the consummation of the Transactions, and (b) in taking such actions or making any such
filings, furnishing information required in connection therewith and seeking timely to obtain any
such actions, consents, approvals or waivers.

                7.3    Public Announcements. Neither Purchaser nor Seller shall make any public
announcements or statements concerning the Transactions without the prior written consent of the
other Party (which consent may not be unreasonably withheld, condition or delayed). Purchaser
acknowledges and agrees that Seller may provide copies of this Agreement to parties in interest in
the Bankruptcy Case and to those parties to whom Seller determines it is necessary to provide
copies in connection with soliciting higher or better bids for the Purchased Assets or as otherwise
necessary or desirable in connection with the Bankruptcy Case. Seller also shall be entitled to file
copies with the Bankruptcy Court or as otherwise required by Law and shall be entitled to publish
notice of the contemplated Transactions in any newspaper selected by Seller.

                                                38
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                               Document    Page 43 of 92



              7.4     Bankruptcy Issues.

                       (a)      After the entry of the Sale Order, neither Seller, its Affiliates, nor
       their respective Representatives shall solicit or negotiate any offer or proposal from any
       third party with respect to an acquisition of or investment in Seller, its Affiliates or any of
       their respective assets.

                      (b)     Seller and Purchaser shall cooperate, assist and consult with each
       other and each use commercially reasonable efforts, to secure the entry of the Sale Order;
       provided, however, Seller shall be entitled to take such actions as may be required in
       connection with the discharge of its fiduciary duties in the Bankruptcy Case (including
       soliciting higher or better offers for the Purchased Assets). In connection with the
       assumption and assignment of the Assigned Contracts pursuant to Section 365 of the
       Bankruptcy Code, Purchaser shall take all actions reasonably required in the discretion of
       the Purchaser or otherwise as directed by the Court to provide “adequate assurance of future
       performance” by Purchaser under the Assigned Contracts after the Closing.

                       (c)    This Agreement shall qualify as a Qualifying Bid and the Purchaser
       shall qualify as a Qualifying Bidder, as such terms are defined in the Bidding Procedures.

                      (d)     The Seller shall use reasonable best efforts to make any filings, take
       all actions and obtain any and all relief from the Bankruptcy Court that is necessary or
       appropriate to consummate the transactions contemplated by this Agreement and the
       Ancillary Documents as promptly as practicable following the date hereof. In the event
       that the Sale Order is appealed, the Seller shall use reasonable best efforts to defend such
       appeal.

              7.5     Cure Costs; Schedule Updates.

                       (a)     No later than three (3) Business Days following the execution of this
       Agreement, the Seller will provide the Purchaser with Schedule 7.5(a) (the “Contract &
       Cure Schedule”), which the Seller shall file with the Bankruptcy Court, and serve on each
       counterparty listed in the Contract & Cure Schedule. The Contract and Cure Schedule shall
       contain a list of each Contract of the Seller and the Seller’s good faith estimate of the
       amount of Cure Costs applicable to each such Contract (and if no Cure Cost is estimated
       to be applicable with respect to any particular Contract, the amount of such Cure Cost has
       been designated for such Contract as “$0.00”). Counterparties having an objection to the
       Cure Costs listed in the Contract & Cure Schedule, and any supplements thereto, shall have
       fifteen (15) days, after the date the Contract & Cure Schedule is filed with the Bankruptcy
       Court and served on the Contract counterparty to file objections to the Cure Costs listed,
       or as shall be provided in the Bidding Procedures Order, be irrevocably bound to the Cure
       Cost stated. Without limiting the foregoing, if it is discovered that a Contract that should
       have been listed on the Contract & Cure Schedule was not so listed, the Seller shall,
       promptly following the discovery thereof, file a notice with the Bankruptcy Court
       supplementing the Contract and Cure Schedule and notify the Purchaser in writing of any
       such Contract and the Seller’s good faith estimate of the amount of Cure Costs applicable
       to each such Contract (and if no Cure Cost is estimated to be applicable with respect to any

                                                 39
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                               Document    Page 44 of 92



       such Contract, the amount of such Cure Cost shall be designated for such Contract as
       “$0.00”). Counterparties having an objection to the Cure Costs listed in the post-Closing
       Contract & Cure Schedule supplement shall have fifteen (15) days, after the date the post-
       Closing Contract & Cure Schedule supplement is filed with the Court and served on the
       Contract counterparty to file objections to the Cure Costs listed, or as shall be provided in
       the Bidding Procedures Order, be irrevocably bound to the Cure Cost stated. The Purchaser
       shall have thirty (30) days to elect to assume such Contract listed in the post-Closing
       Contract & Cure Schedule supplement.

                       (b)     The Purchaser may, at any time and from time to time through (and
       including) the date that is three business days prior to the Closing Date, exclude from the
       definition of Assigned Contracts, any Contract of the Seller otherwise included in the
       definition of Assigned Contracts, including, for the avoidance of doubt, Post-Petition
       Contracts to the extent that such Post-Petition Contracts would require the payment of Cure
       Costs and/or the Purchaser to make payments in excess of $275,000 over any twelve-month
       period; provided, that no such change of the definitions of Assigned Contracts referred to
       in this sentence shall reduce or increase the amount of the Purchase Price.

                       (c)    The Seller shall be responsible for the verification of all Cure Costs
       for each Assigned Contract and shall use commercially reasonable efforts to correctly
       calculate the proper Cure Costs, if any, for each Assigned Contract prior to the filing of the
       Contract & Cure Schedule. To the extent that any Assigned Contract requires the payment
       of Cure Costs in order to be assumed pursuant to Section 365 of the Bankruptcy Code,
       whether determined prior to or after the Closing, the Cure Costs related to such Assigned
       Contract, or any portion thereof, shall be paid by the Purchaser within seven (7) days of
       the Closing Date, or such other date that the Assigned Contract is assumed by the Seller
       and assigned to the Purchaser. Notwithstanding the foregoing, unless otherwise ordered
       by the Bankruptcy Court and unless such Liability is an Assumed Liability, the Purchaser
       shall not have any Liabilities with respect to any Non-Assigned Contract or to the extent
       that the Cure Costs exceed the applicable amounts set forth in Section 2.3(c).

                7.6     Notices. If at any time (a) Purchaser actually becomes aware of any
material breach by Seller of any representation, warranty, covenant or agreement contained herein
and such breach is capable of being cured by Seller, or (b) Seller actually become aware of any
material breach by Purchaser of any representation, warranty, covenant or agreement contained
herein and such breach is capable of being cured by Purchaser, the Party becoming aware of such
breach shall promptly notify the other Party, in accordance with Section 13.1, in writing of such
breach. In addition, each of Seller and Purchaser shall be required to promptly notify the other
Party in writing and in accordance with Section 13.1, of any fact, circumstance, event or action the
existence, occurrence or taking of which has resulted in, or could reasonably be expected to result
in, any representation or warranty made by such Party hereunder not being true and correct in all
material respects or of a material breach of any covenant or agreement of such Party contained in
this Agreement. Upon such notice of breach, the breaching Party shall have until the earlier of
(y) ten (10) days after receiving or giving such notice, and (z) the End Date, to cure such breach
prior to the exercise of any remedies in connection therewith.



                                                40
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                               Document    Page 45 of 92



               7.7    Casualty, Condemnation, Loss of Lease.

                       (a)    If, prior to Closing, any Leased Real Property and the associated
       Improvements or any part thereof shall be subject to a taking by any public or quasi-public
       authority through condemnation, eminent domain or otherwise (including, but not limited
       to, any transfer made in lieu of or in anticipation of the exercise of such taking)
       (collectively, “Condemnation”), Purchaser shall take title to the Purchased Assets relating
       to such affected Leased Real Property and Improvements notwithstanding such
       Condemnation. At the Closing, Purchaser, shall succeed to (x) the rights of the Seller to
       the Condemnation proceeds, including insurance proceeds, with respect to a Condemnation
       (“Condemnation Proceeds”), and (y) the rights to settle any such Condemnation
       proceeding, and Purchaser shall, at Closing, succeed to the rights of the Seller to all
       required proofs of loss, assignments of claims and similar items. The Seller, at Closing,
       shall assign to Purchaser all right, title and interest to any claims or proceeds Seller may
       have. The Seller shall not settle any such proceedings without the consent of Purchaser,
       such consent not to be unreasonably withheld or delayed. Seller’s compliance with this
       Section 7.7(a) shall cure any breach of covenant or inaccuracy of any representation and
       warranty arising as a result of a Condemnation Event.

                        (b)    If, prior to Closing, any Leased Real Property and the associated
       Improvements or any part thereof shall be destroyed or damaged by fire, earthquake, flood
       or other casualty (collectively, “Casualty”), Purchaser shall take title to the Purchased
       Assets relating to such affected Leased Real Property and Improvements notwithstanding
       such Casualty. At the Closing, Purchaser, shall succeed to (x) the rights of the Seller to the
       Casualty proceeds, including insurance proceeds, with respect to such Casualty (“Casualty
       Proceeds”), including without duplication, giving Purchaser a credit against the Purchase
       Price in the amount of the Casualty Proceeds actually received by the Seller and not applied
       by the Seller to repair prior to Closing, and (y) the rights to settle after Closing any loss
       under all policies of insurance applicable to the Casualty, and Purchaser shall, at Closing
       and thereafter, succeed to the rights of the Seller to all required proofs of loss, assignments
       of claims and other similar items and Seller shall, at Closing, assign same to Purchaser.
       The Seller shall not settle any such claims without the consent of Purchaser; such consent
       not to be unreasonably withheld or delayed. Seller’s compliance with this Section 7.7(b)
       shall cure any breach of covenant or inaccuracy of any representation and warranty arising
       as a result of a Casualty.

       8.      Tax Matters.

                8.1    Tax Cooperation. Purchaser and Seller agree to furnish or cause to be
furnished to each other, upon request, as promptly as practicable, such information and assistance
relating to the Business and the Purchased Assets (including access to books and records) as is
reasonably necessary for the preparation and filing of all Tax Returns, the making of any election
relating to Taxes, the preparation for any audit by any Taxing Authority, and the prosecution or
defense of any Claim, suit or proceeding relating to any Tax. Seller and Purchaser shall cooperate
with each other in good faith in the conduct of any audit or other proceeding relating to Taxes
involving the Purchased Assets or the Business.


                                                 41
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                Desc Main
                               Document    Page 46 of 92



               8.2     Transfer Taxes. To the extent not exempt under Section 1146 of the
Bankruptcy Code, Purchaser shall pay all Transfer Taxes. Seller and Purchaser shall cooperate (at
Purchaser’s sole cost and expense) to prepare and timely file any Tax Returns required to be filed
in connection with Transfer Taxes described in the immediately preceding sentence.

              8.3      Wage Reporting. Purchaser and Seller agree to utilize, or cause their
respective Affiliates to utilize, the alternate procedure set forth in Internal Revenue Service
Revenue Procedure 2004-53 with respect to wage reporting.

       9.      Employee Matters.

               9.1    Employees and Offers of Employment.

                       (a)    Prior to the Closing Date, Purchaser shall offer employment,
       effective as of the Closing Date, to substantially all of the employees of Seller who are
       employed in connection with the Business at the Purchased Locations, at the same (or
       better) salary or wage levels and on such other terms and conditions as determined by
       Purchaser in its sole discretion, and Seller shall cooperate with Purchaser in connection
       with such offers of employment. Any employee of Seller who accepts an offer of
       employment from Purchaser pursuant to this Section 9.1(a) shall be a “Transferred
       Employee”. Unless agreed to otherwise in writing by the Purchaser and a Transferred
       Employee, all Transferred Employees shall be employees “at-will” of Purchaser.

                      (b)     Purchaser shall maintain employee records transferred to Purchaser
       hereunder for a period of not less than two (2) years and during that period will afford
       Seller reasonable access to such records during Purchaser’s normal business hours, with
       such maintenance and access at Seller’s sole cost and expense. Purchaser shall maintain
       the confidentiality of such records and limit access thereto in a manner consistent with
       Purchaser’s treatment of its employee records.

                      (c)    Nothing herein, express or implied, shall confer upon any employee
       or former employee of Seller any rights or remedies (including any right to employment or
       continued employment for any specified period) of any nature or kind whatsoever, under
       or by reason of this Agreement. Purchaser and Seller agree that the provisions contained
       herein are not intended to be for the benefit of or otherwise be enforceable by, any third
       party, including any employee or former employee of Seller.

                      (d)     Seller shall retain liability for, and Purchaser shall not acquire or
       assume, any litigation related to or arising out of any Employment-Related Laws and
       Obligations of Seller arising prior to the Closing, whether a claim in respect thereto is
       brought on, before, or after the Closing Date.

                       (e)     Following the Closing Date, Purchaser shall use commercially
       reasonable efforts to ensure that no waiting periods, exclusions or limitations with respect
       to any pre-existing conditions, evidence of insurability or good health or actively-at-work
       exclusions are applicable to any Transferred Employee or their dependents or beneficiaries
       under any welfare benefit plans of Purchaser in which such employees may be eligible to
       participate, subject in all events to the terms of such plans. The Parties acknowledge and

                                               42
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                               Document    Page 47 of 92



       agree that any or all (or none) of the Employee Benefit Plans may be designated as an
       Assigned Contract, as determined in Purchaser’s sole discretion and subject to the other
       terms and conditions of this Agreement.

                9.2     Workers’ Compensation.        Seller shall be liable for all workers’
compensation claims arising out of injuries with an identifiable date of occurrence sustained by
Seller’s employees prior to the Closing Date. Purchaser shall be liable for all workers’
compensation claims arising out of injuries with an identifiable date of occurrence, sustained by
any Transferred Employee on and after the date (hereinafter, “Transferred Employee’s
Employment Date”) Purchaser hires them, including injuries sustained by such Transferred
Employee on or after the applicable Transferred Employee’s Employment Date that are
aggravations, exacerbations or re-injuries of medical conditions or diagnoses resulting from
injuries that were sustained before the applicable Transferred Employee’s Employment Date.
Seller shall be liable for all workers’ compensation claims arising out of injuries or occupational
diseases without an identifiable date of occurrence or exposure, originating from within Seller’s
facilities and which have been sustained or contracted prior to the Closing Date. Purchaser shall
be liable for all workers’ compensation claims arising out of injuries or occupational diseases
without an identifiable date of occurrence or exposure, which are alleged to have been sustained
or contracted on or after the applicable Transferred Employee’s Employment Date.

       10.     Closing Conditions.

              10.1 Conditions to Obligations of Purchaser and Seller. The obligations of
Purchaser and Seller to consummate the Closing are subject to the satisfaction of the following
conditions:

                       (a)     The Bankruptcy Court shall have entered the Sale Order in the
       Bankruptcy Case, authorizing the Transactions and approving this Agreement under
       Sections 105(a), 363, 365, of the Bankruptcy Code, in form and substance reasonably
       acceptable to Seller and Purchaser, and as of the Closing Date the Sale Order shall be in
       full force and effect, shall not then be stayed, and shall not have been vacated or reversed.

                       (b)     The Bankruptcy Court shall have entered the Settlement Order (as
       defined in that certain Settlement Agreement entered into by and among the Debtors and
       Purchaser), and as of the Closing Date the Settlement Order shall be in full force and effect,
       shall not then be stayed, and shall not have been vacated or reversed.

                      (c)     No injunction, stay or similar Order issued by any Governmental
       Authority shall be in effect that restrains, enjoins, stays or prohibits the consummation of
       the Transactions.

                10.2 Conditions to Obligations of Purchaser. The obligation of Purchaser to
consummate the Closing is subject to the satisfaction (or waiver by Purchaser) of the following
further conditions:

                      (a)    Seller shall have performed in all material respects all of its
       obligations hereunder required to be performed by Seller on or prior to the Closing Date;


                                                43
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                               Document    Page 48 of 92



                       (b)     (i) the representations and warranties of Seller set forth in Sections
       3.1 (Organization), 3.2 (Due Authorization), 3.4(a) (Noncontravention), 3.13 (Sufficiency
       of and Title to the Purchased Assets) and 3.18 (Certain Fees), (collectively, the “Seller
       Core Representations”) shall be true and correct in all material respects at and as of the
       Closing Date, as if made at and as of such date (or to the extent such representations and
       warranties speak as of an earlier date, they shall be true and correct in all material respects
       as of such earlier date), and (ii) the representations and warranties of Seller contained in
       this Agreement other than the Seller Core Representations shall be true and correct at and
       as of the Closing Date, as if made at and as of such date (or to the extent such
       representations and warranties speak as of an earlier date, they shall be true and correct as
       of such earlier date), with only such exceptions as would not in the aggregate reasonably
       be expected to have a Material Adverse Effect;

                       (c)     Purchaser shall have received the Organizational Amendments;

                      (d)     Purchaser shall have received an officer’s certificate signed by a
       duly authorized officer of each Seller, dated as of the Closing Date, certifying compliance
       with the conditions set forth in Sections 10.2(a) and 10.2(b); and

                       (e)     Seller shall have delivered all of the items required by Section 2.9.

                10.3 Conditions to Obligations of Seller. The obligation of Seller to consummate
the Closing is subject to the satisfaction (or waiver by Seller) of the following further conditions:

                      (a)    Purchaser shall have performed in all material respects all of its
       obligations hereunder required to be performed by it at or prior to the Closing Date;

                       (b)    the representations and warranties of Purchaser contained in this
       Agreement shall be true and correct at and as of the Closing Date, as if made at and as of
       such date (or to the extent such representations and warranties speak as of an earlier date,
       they shall be true and correct as of such earlier date), with only such exceptions as would
       not in the aggregate reasonably be expected to have a Purchaser Material Adverse Effect;

                      (c)    Seller shall have received all documents they may reasonably
       request relating to the existence of Purchaser and the authority of Purchaser for this
       Agreement, all in form and substance reasonably satisfactory to Seller; and

                       (d)     Purchaser shall have delivered all of the items required by
       Section 2.10.

               10.4 Waiver of Closing Conditions. Notwithstanding anything to the contrary
contained herein, if any of the conditions to Closing were not fulfilled at or prior to the Closing
and the parties hereto agree to close the transactions contemplated by this Agreement, then
following the Closing all such conditions to Closing shall be deemed to have been waived effective
as of the Closing

       11.     Survival; Indemnification.


                                                 44
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                               Document    Page 49 of 92



               11.1 Survival. The (a) representations and warranties of Seller and Purchaser,
and (b) covenants and agreements of Seller and Purchaser that by their terms are to be performed
before Closing, contained in this Agreement or in any certificate or other writing delivered in
connection herewith, shall not survive the Closing. The covenants and agreements of Seller and
Purchaser contained herein that by their terms are to be performed on or after Closing shall survive
the Closing for such terms.

                11.2 Indemnification. Each of Purchaser and Seller agrees to indemnify the other
with respect to any investment banking fees, financial advisory fees, brokerage fees, finders’ fees,
or other similar fees which are alleged to be due and payable with respect to the Transactions and
which are asserted as a result of the actions of the indemnifying party. There shall be no post-
Closing indemnification of Purchaser by Seller with respect to any matter not set forth in this
Section 11.2.

       12.     Termination.

                12.1 Grounds for Termination. This Agreement may be terminated at any time
prior to the Closing:

                       (a)    by mutual written agreement of Seller and Purchaser;

                       (b)    by Seller or Purchaser, if the Closing shall not have been
       consummated on or before May 18, 2020 (the “End Date”), unless the Party seeking
       termination is in material breach of its obligations hereunder;

                       (c)    by Seller or Purchaser, if any condition set forth in Section 10.1 is
       not satisfied, and such condition is incapable of being satisfied by the End Date;

                        (d)    by Purchaser, if there shall be an inaccuracy in any representation or
       warranty of Seller, or a breach by Seller of any covenant or agreement contained in this
       Agreement, in each case which would result in a failure of a condition set forth in
       Section 10.1 or Section 10.2 and which breach cannot be cured or has not been cured by
       the earlier of (i) 10 days after the delivery of written notice by Purchaser to Seller of such
       breach and (ii) the End Date; provided, however, that if there shall be an inaccuracy or
       breach of any representations, warranties, covenants or agreements of Purchaser contained
       in this Agreement to an extent which would give Seller the right not to close pursuant to
       Section 10, then Purchaser may not terminate this Agreement pursuant to this Section
       12.1(d);

                        (e)    by Seller, if there shall be an inaccuracy in any representation or
       warranty of Purchaser, or a breach by Purchaser of any covenant or agreement contained
       in this Agreement, in each case which would result in a failure of a condition set forth in
       Section 10.1 or Section 10.3 and which breach cannot be cured or has not been cured by
       the earlier of (i) 10 days after the delivery of written notice by Seller to Purchaser of such
       breach and (ii) the End Date; provided, however, that if there shall be an inaccuracy or
       breach of any representations, warranties, covenants or agreements of Seller contained in
       this Agreement to an extent which would give Purchaser the right not to close pursuant to
       Section 10, then Seller may not terminate this Agreement pursuant to this Section 12.1(e);

                                                45
39748401v22
Case 20-61065-pwb        Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                                Document    Page 50 of 92



                      (f)     by Seller, if (i) prior to the entry of the Sale Order Seller executes a
       definitive agreement with a third party (other than Purchaser) for the acquisition of all or
       substantially all the Purchased Assets in compliance with the Bidding Procedures, and
       (ii) the Bankruptcy Court enters an Order in the Bankruptcy Case approving such definitive
       agreement; and

                       (g)     [reserved].

                       (h)     The Party desiring to terminate this Agreement pursuant to this
       Section 12.1 (other than pursuant to Section 12.1(a)) shall give notice of such termination
       to the other Party in accordance with Section 13.1.

                12.2 Effect of Termination. If this Agreement is terminated as permitted by
Section 12.1, such termination shall be without liability of any Party (or any stockholder, director,
officer, employee, agent, consultant or representative of such Party) to the other Party to this
Agreement except as expressly provided in Section 7.4(b), and Section 12.4. The provisions of
Sections 6.1, 7.4(b), 11.2, 12.2, 12.3, 12.4, 13.1, 13.4, 13.5, 13.6, 13.7, 13.8, 13.9, 13.10 and 13.11
shall survive any termination hereof pursuant to Section 12.1.

               12.3 Expenses. Except as otherwise set forth expressly herein, all costs and
expenses incurred in connection with this Agreement or the Transactions shall be paid by the Party
incurring such cost or expense.

                12.4 Exclusive Remedies. Effective as of Closing, except in the case of
intentional fraud, Purchaser waives irrevocably any rights and Claims Purchaser may have against
Seller, whether in Law or in equity, relating to any breach of a representation, warranty, covenant
or agreement contained herein and occurring on or prior to the Closing. Purchaser and Seller
acknowledge and agree that if this Agreement is terminated pursuant to and in accordance with
Section 12.1, the provisions of Section 12.2, and this Section 12.4 set forth the sole and exclusive
remedies of the Parties.

                12.5 Specific Performance.          The Parties acknowledge and agree that
(i) irreparable damage to Purchaser would occur in the event that any of the provisions of this
Agreement are not performed by Seller in accordance with their specific terms or are otherwise
breached or threatened to be breached by Seller, and (ii) damages and/or remedies at law would
be an inadequate remedy for the breach of any of the covenants, promises and agreements
contained in this Agreement by Seller, and, accordingly, Purchaser shall be entitled to seek
injunctive relief (without the posting of any bond or other security) with respect to any such breach,
including without limitation specific performance of such covenants, promises or agreements or
an order enjoining Purchaser from any threatened, or from the continuation of any actual, breach
of the covenants, promises or agreements contained in this Agreement. Purchaser’s right to
equitable relief, including specific performance and injunctive relief, shall exist notwithstanding,
and shall not be limited by, any other provision of this Agreement. The rights set forth in this
Section 12.5 shall be in addition to any other rights which Purchaser may have at law or in equity
in connection with this Agreement. If any action, suit or proceeding is brought to enforce this
Agreement against Seller, Seller shall waive the defense that there is an adequate remedy at law
and agrees not to assert that specific performance, injunctive and other equitable remedies are

                                                  46
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43              Desc Main
                               Document    Page 51 of 92



unenforceable, violate public policy, invalid, contrary to Law or inequitable for any reason. The
right to specific performance, injunctive and other equitable remedies is an integral part of the
transactions contemplated by this Agreement and without that right, Purchaser would not have
entered into this Agreement.

       13.    Miscellaneous.

               13.1 Notices. All notices, requests and other communications to any Party
hereunder shall be in writing (including facsimile transmission) and shall be given,

              if to Purchaser, to:


                  DB KRST Investors LLC
                  1345 Avenue of the Americas, 46th Floor
                  New York, NY 10105
                  Tel: 212-798-6100
                  Attention: David N. Brooks, General Counsel
                             David Sharpe, Credit Operations
                  E-mail: gccredit@fortress.com
                          creditoperations@fortress.com

              and to:

                  Morgan J. McClure
                  Managing Director
                  Fortress Investment Group
                  3290 Northside Pkwy NW, Suite 350
                  Atlanta, GA 30327
                  E-mail: mmcclure@fortress.com

              with a copy to (which shall not constitute notice):


                  Alston & Bird LLP
                  One Atlantic Center
                  1201 W. Peachtree Street
                  Atlanta, GA 30309
                  Attention: Jonathan Edwards, Esq.
                             Jeremy Silverman, Esq.
                  Email: Jonathan.Edwards@alston.com
                         Jeremy.Silverman@alston.com

              if to Seller, to:

                  The Krystal Company
                  1455 Lincoln Parkway, Suite 600

                                               47
39748401v22
Case 20-61065-pwb        Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                                Document    Page 52 of 92



                   Dunwoody, Georgia 30346
                   Attention: Jonathan Tibus
                   Email: jtibus@alvarezmarsal.com

               with copies to (which shall not constitute notice):

                   King & Spalding LLP
                   1180 Peachtree Street
                   Atlanta, Georgia 30309
                   Attention: Sarah Borders
                   Fax: 404-572-5134

All such notices, requests and other communications shall be deemed received on the date of
receipt by the recipient thereof if received prior to 5:00 p.m. in the place of receipt and such day
is a Business Day in the place of receipt. Otherwise, any such notice, request or communication
shall be deemed not to have been received until the next succeeding Business Day in the place of
receipt.

               13.2 Waivers. No failure or delay by any Party in exercising any right, power or
privilege hereunder shall operate as a waiver thereof nor shall any single or partial exercise thereof
preclude any other or further exercise thereof or the exercise of any other right, power or privilege.
The rights and remedies herein provided shall be cumulative.

                13.3 Successors and Assigns. The provisions of this Agreement shall be binding
upon and inure to the benefit of the Parties and their respective successors and assigns; provided,
however, that no Party may assign, delegate or otherwise transfer any of its rights or obligations
under this Agreement without the written consent of the other Party. Notwithstanding the
preceding sentence, Purchaser shall be permitted to assign any or all of its rights and obligations
under this Agreement to any of Purchaser’s Affiliates and/or to Purchaser’s and/or its Affiliates’
financing sources (i) without the prior written consent of Seller prior to the entry of the Sale Order;
provided, however, that Purchaser shall at all times remain liable for all obligations under this
Agreement following any assignment hereunder prior to the entry of the Sale Order; and (ii) with
the prior written consent of Seller, which consent shall not be unreasonably withheld, conditioned
or delayed, after the entry of the Sale Order.

                13.4 Governing Law. This Agreement shall be governed by and construed in
accordance with the internal Laws of the State of Georgia and any applicable provisions of the
Bankruptcy Code, without regard to the principles of conflicts of Law that would provide for
application of another Law.

               13.5    Jurisdiction.

                       (a)     Prior to the closing of the Bankruptcy Case, the Parties hereto agree
       that any suit, action or proceeding seeking to enforce any provision of, or based on any
       matter arising out of or in connection with, this Agreement or the Transactions shall be
       brought exclusively in the Bankruptcy Court, and each of the Parties hereby irrevocably
       consents to the jurisdiction of the Bankruptcy Court (and of the appropriate appellate courts
       therefrom) in any such suit, action or proceeding and irrevocably waives, to the fullest

                                                  48
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                Desc Main
                               Document    Page 53 of 92



       extent permitted by Law, any objection that it may now or hereafter have to the laying of
       the venue of any such suit, action or proceeding in the Bankruptcy Court or that any such
       suit, action or proceeding which is brought in the Bankruptcy Court has been brought in an
       inconvenient forum. Process in any such suit, action or proceeding may be served on any
       Party anywhere in the world, whether within or without the jurisdiction of the Bankruptcy
       Court. Without limiting the foregoing, each Party agrees that service of process on such
       Party as provided in Section 13.1 shall be deemed effective service of process on such
       Party.

                      (b)     After the closing or dismissal of the Bankruptcy Case, except as
       otherwise expressly provided in this Agreement, the Parties hereto agree that any suit,
       action or proceeding seeking to enforce any provision of, or based on any matter arising
       out of or in connection with, this Agreement or the Transactions may be brought in any
       court having subject matter jurisdiction over such suit, action or proceeding, and that any
       cause of action arising out of this Agreement shall be deemed to have arisen from a
       transaction of business in the State of Georgia, and each of the Parties hereby irrevocably
       consents to the jurisdiction of such courts (and of the appropriate appellate courts
       therefrom) in any such suit, action or proceeding and irrevocably waives, to the fullest
       extent permitted by Law, any objection that it may now or hereafter have to the laying of
       the venue of any such suit, action or proceeding in any such court or that any such suit,
       action or proceeding which is brought in any such court has been brought in an
       inconvenient forum. Process in any such suit, action or proceeding may be served on any
       Party anywhere in the world, whether within or without the jurisdiction of any such court.
       Without limiting the foregoing, each Party agrees that service of process on such Party as
       provided in Section 13.1 shall be deemed effective service of process on such Party.

          13.6 Waiver of Jury Trial. EACH OF THE PARTIES HERETO HEREBY
IRREVOCABLY WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY LEGAL
PROCEEDING ARISING OUT OF OR RELATED TO THIS AGREEMENT OR THE
TRANSACTIONS.

               13.7 No Third Party Beneficiaries. No provision of this Agreement (other than
Section 6.3) is intended to confer upon any Person other than the Parties hereto any rights or
remedies hereunder.

               13.8 Entire Agreement; Amendments; Counterparts. This Agreement (including
the Schedules and Exhibits hereto) set forth the entire agreement among the Parties with respect
to the subject matter hereof and may be amended only by a writing executed by Purchaser and
Seller. This Agreement may be executed in counterparts, each of which when taken together shall
constitute an original. This Agreement shall become effective when each Party hereto shall have
received a counterpart hereof signed by the other Party hereto.

                13.9 Headings, Interpretation. The headings contained in this Agreement are for
convenience of reference only and shall not affect the meaning or interpretation of this Agreement.
Whenever the words “include,” “includes” or “including” are used in this Agreement, they shall
be deemed to be followed by the words “without limitation.” In the event an ambiguity or question
of intent or interpretation arises, this Agreement shall be construed as if drafted jointly by the

                                                49
39748401v22
Case 20-61065-pwb        Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                                Document    Page 54 of 92



Parties and no presumption or burden of proof shall arise favoring or disfavoring any Party by
virtue of authorship of any provisions of this Agreement.

                13.10 Non-Recourse. The Parties acknowledge that (i) no direct or indirect equity
holder or lender of any Party, (ii) no member of any board of managers or special committee of
any Party or any Affiliate of any Party and (iii) no past, present or future director, officer,
committee member, employee, incorporator, member, partner or direct or indirect equity holder or
lender of any Party (such Persons described in clauses (i)-(iii) above, the “Non-Recourse Parties”)
is a party to this Agreement or, except as expressly contemplated therein as parties thereto, any
Ancillary Document. The Parties further acknowledge that none of the Non-Recourse Parties,
whether individually or collectively, shall have any liability whatsoever of any kind or description
for any obligations or liabilities of any Party under this Agreement or, except as expressly
contemplated therein as parties thereto, any Ancillary Document or for any claim based on, in
respect of, or by reason of, the transactions contemplated hereby or thereby. Accordingly, the
Parties hereby agree that in the event (a) there is any alleged breach or alleged default or breach or
default by any Party under this Agreement or any of the Ancillary Documents or (b) any Party has
or may have any claim arising from or relating to the terms of this Agreement or any Ancillary
Document, no Party shall, or shall have any right to, commence any proceedings or otherwise seek
to impose any Liability or obligation whatsoever of any kind or description on or against the Non-
Recourse Parties, whether collectively or individually, by reason of such alleged breach, default
or claim, except and only to the extent that a Non-Recourse Party is expressly contemplated in an
Ancillary Document as a party to such Ancillary Document.

                13.11 Affiliate Acquisitions. Notwithstanding anything to the contrary contained
in this Agreement, Purchaser may elect to have any or all of the Purchased Assets conveyed or
transferred to, or any or all of the Assumed Liabilities assumed by, one or more of its Affiliates as
may be designated by Purchaser from time to time prior to the Closing.

               13.12 Disclosure Schedules. The Parties acknowledge and agree that (i) the
Schedules to this Agreement may include certain items and information solely for informational
purposes for the convenience of Purchaser and (ii) the disclosure by Seller of any matter in the
Schedules shall not be deemed to constitute an acknowledgment by Seller that the matter is
required to be disclosed by the terms of this Agreement or that the matter is material. If any
Schedule discloses an item or information, the matter shall be deemed to have been disclosed in
all other Schedules for which such information is reasonably apparent on its face to be relevant or
applicable, notwithstanding the omission of an appropriate cross-reference to such other
Schedules.

                                     [Signature pages follow.]




                                                 50
39748401v22
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43              Desc Main
                               Document    Page 55 of 92




         IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be duly
  executed by their respective authorized officers as of the day and year first above written.

                                            DB KRST fNVE        RS LLC


                                            By:

                                                  Constantine
                                            Name: _ _ _ _ _Dakolias
                                                              _ _ _ _ _ _ _ _ __

                                            Title: _Managing
                                                     ____    Partner
                                                               _ _ _ _ _ _ _ _ _ __


                                            THEK~MPANY

                                            By:     ~              ~ .   ~
                                            Name: Jonathan Tibus
                                                   ---------------
                                                   Chief
                                            Title: _ __  Restructuring
                                                          _____        Officer
                                                                         __ _ _ _ _ __




                           Signature Page to Asset Purchase Agreement
Case 20-61065-pwb   Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43   Desc Main
                           Document    Page 56 of 92



                                   Exhibit A

                             Management Agreement




                                   Exhibit A
Case 20-61065-pwb           Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                         Desc Main
                                   Document    Page 57 of 92
                                                                                                     Final Form


                         U.S. BANKRUPTCY COURT APPROVED
                      MASTER INTERIM MANAGEMENT AGREEMENT
                                     BETWEEN
                         DB KRST INVESTORS LLC (the “Owner”)
                                       AND
                        THE KRYSTAL COMPANY (the “Manager”)

         Pursuant to that certain [Order: (I) Approving Asset Purchase Agreement And
Authorizing the Sale of Certain Assets of the Debtors Outside of the Ordinary Course of Business,
(II) Authorizing the Sale of Assets Free and Clear of All Liens, (III) Authorizing the Assumption
and Assignment or Rejection of Certain Executory Contracts and Unexpired Leases, (IV)
Granting Related Relief] dated [●], 2020, and issued by the United States Bankruptcy Court for
the Northern District of Georgia (Atlanta Division) (the “Bankruptcy Court”) in Case No. 20-
61065 (PWB) (the “Sale Order”), this Master Interim Management Agreement (this
“Agreement”) is entered into by and between DB KRST Investors LLC, a Delaware limited
liability company (the “Owner”) and The Krystal Company, a Tennessee corporation (the
“Manager”), effective as of the closing date of the transactions contemplated by the Asset
Purchase Agreement (as defined below) (the “Effective Date”).

        WHEREAS, Owner and Manager have executed that certain Asset Purchase Agreement,
dated as of May 6, 2020; a true and correct copy of the Asset Purchase Agreement without
Schedules or Exhibits is attached to this Agreement as Exhibit A (the “Asset Purchase
Agreement”).1 As a consequence, pursuant to the Sale Order, on [●], 2020, Owner has either (i)
purchased from Manager out of bankruptcy, and now owns, all or substantially all the assets at
each restaurant listed on Schedule 1 of this Agreement (each a “Retained Restaurant” and
collectively the “Retained Restaurants”, including any Designation Rights Restaurant (as defined
below) that is designated by the Owner as a Retained Restaurant in accordance with the Asset
Purchase Agreement) or (ii) designated the Real Property Lease with respect to each restaurant set
forth on Schedule 2 of this Agreement (each a “Designation Rights Restaurant” and collectively
the “Designation Rights Restaurants”) as a Designation Rights Asset (as defined in the Asset
Purchase Agreement). The Retained Restaurants and the Designation Rights Restaurants are
collectively referred to as the “Restaurants.”

        WHEREAS, each Restaurant is a fast-casual restaurant including the sale of food under
the respective Permits in the name of Manager listed on Schedule 3 (each a “Permit” and
collectively the “Permits”).

       WHEREAS, both Owner and Manager desire the operation of each of the Restaurants to
continue without interruption until Owner, with respect to each such Restaurant, either (i) with
respect to each Retained Restaurant, obtains from the relevant state and/or local government
regulatory authorities the Permits, as applicable, at such Retained Restaurant in its name either
through transfer or initial application or (ii) with respect to each Designation Rights Restaurant,
designates such Designation Rights Restaurant as a Retained Restaurant (to be treated in


1
 Capitalized terms not otherwise defined in this Agreement have the meanings ascribed to them in the Asset
Purchase Agreement.


LEGAL02/39753922v5
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                               Document    Page 58 of 92
                                                                            Privileged & Confidential
                                                                            Attorney Client Privileged

accordance with clause (i) above) or an Excluded Asset in accordance with the Asset Purchase
Agreement.

        NOW, THEREFORE, for and in consideration of the mutual covenants and other good
and valuable consideration as provided herein and in the Asset Purchase Agreement, the receipt
and sufficiency of which are hereby acknowledged, the parties hereto do agree as follows:

        1.     The “Term” shall commence on the Effective Date and shall terminate, (i) for each
Retained Restaurant, upon the earliest to occur of (a) Owner’s receipt via transfer from the
Manager or through initial application for license issuance from all applicable Governmental
Authorities of each Permit for said Restaurant, (b) five (5) Business Days after the date that
Manager receives written notice of termination from Owner, (c) [ninety (90)] days from the
Effective Date (unless this Agreement is otherwise terminated prior to the earliest of such dates
pursuant to the terms hereof or by mutual agreement of the parties) or (d) such later date as may
be agreed by the parties, and (ii) for each Designation Rights Restaurant, on the date that the Real
Property Lease for such Designation Rights Restaurant is assumed or rejected in accordance with
the Sale Order.

         2.     During the Term, Manager shall remain the licensed retail vendor of food for each
Restaurant, and in such capacity shall manage, control, and operate each Restaurant solely to the
extent required for each Permit, as applicable, to remain effective in accordance with the Sale
Order. Manager hereby appoints Owner as its agent to manage, control and operate the
Restaurants to the extent permitted by applicable Law and each applicable Permit. Pursuant to its
appointment as Manager’s agent and subject to the following sentence, Owner shall be entitled to
collect and to retain all revenues generated by the Restaurants during the Term (the “Revenues”),
and shall reimburse Manager for and be solely responsible for (i) any reasonable and documented
costs, fees, and expenses and all other liabilities or expenses incurred by Manager in the
performance of its obligations under this Agreement or incurred as a result of the operation of
Restaurants (including, without limitation, costs, expenses or liabilities arising from or incurred
in connection with the administration of the Bankruptcy Case and related primarily to the
Restaurants) and (ii) the insurance obligations of Manager set forth in Section 5 below
(individually a “Liability” and collectively the “Liabilities”). Notwithstanding anything contained
herein to the contrary, all employees of the Restaurants shall be employed by the Owner, and
Manager shall have no duty or authority to take action as an employer with respect to any such
employee or to enter into any contract on behalf of the Owner, without the Owner’s prior written
consent.

        3.     For valuable consideration received, and in order to induce Manager to enter into
this Agreement, Owner and Manager covenant, agree, warrant, and represent that the following
are now true and shall remain true throughout the Term, which covenants, agreements,
representations, and warranties shall survive the termination of this Agreement:

                 (a)      Manager shall have no duties or responsibilities under this Agreement
         other than those specified herein and no implied obligations (other than to act in good
         faith) shall be read into this Agreement.




LEGAL02/39753922v5
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                    Desc Main
                               Document    Page 59 of 92
                                                                              Privileged & Confidential
                                                                              Attorney Client Privileged

                 (b)     Neither Manager, nor any of its Affiliates, employees, officers, directors,
         managers, members, representatives, agents, attorneys, direct or indirect equityholders,
         successors, predecessors or assigns, will be liable to Owner for, and Owner releases and
         forever discharges Manager and its Affiliates, employees, officers, directors, managers,
         members, representatives, agents, attorneys, direct or indirect equityholders, successors,
         predecessors and assigns from, any and all claims, liabilities, actions, suits, judgments,
         losses, injuries, damages, costs or expenses arising out of or connected with any act or
         omission of Manager, or its Affiliates, employees, officers, directors, managers,
         members, representatives, agents, attorneys, direct or indirect equityholders, successors,
         predecessors and assigns pursuant to this Agreement or with respect to the performance
         of Manager’s obligations under this Agreement ;

                 (c)     Owner agrees to indemnify, defend and hold harmless and discharges
         Manager and its Affiliates, employees, officers, directors, managers, members,
         representatives, agents, attorneys, direct or indirect equityholders, successors,
         predecessors and assigns (collectively, the “Manager Indemnified Parties”) from and
         against any and all claims, actions, demands, judgments, losses, costs, expenses,
         damages and liabilities (including attorneys’ fees and other expenses of litigation) arising
         out of or resulting from such Manager Indemnified Parties’ performance of Manager’s
         obligations under this Agreement and/or the operation of the Restaurants;

                 (d)      During the Term, all purchases and services rendered with respect to the
         operation of the Restaurants shall be in the name of the Owner, including, without
         limitation, all utility service and all accounts for the purchase of inventory; and

                  (e)     Nothing in this Agreement or the Asset Purchase Agreement shall be
         deemed to be a transfer of any Permits unless and until such transfer is duly approved by
         all applicable Governmental Authorities having applicable licensing authority, and each
         Permit is issued in the name of Owner or its designee. Notwithstanding the foregoing,
         Owner agrees to: (i) pay for all applicable annual license fees and/or license renewal fees
         due to the licensing authorities as of and after the Effective Date in connection with the
         maintenance of each Permit; and (ii) provide all funds reasonably necessary to maintain
         each Permit in full force and effect (including the providing of letters of credit and/or
         bonds as required by the various Governmental Authorities). If prior to the issuance of
         all Permits, one or more of the Permits are required to be renewed or otherwise require
         action by the licensee or permittee of record to fulfill any administrative or legal
         responsibility associated with said Permit(s), Manager agrees to (at the sole cost and
         expense of Owner) cooperate in good faith with and facilitate the filing of state and/or
         local license renewal applications of any such Permit so as to secure the continued ability
         to sell and serve food at the Restaurants to the extent allowed by applicable Law,
         provided, however, that Owner shall pay any license fees and expenses required to be
         paid as part of such renewals or actions (including the providing of letters of credit and/or
         bonds as required by the various Governmental Authorities).

       4.      Manager agrees that all equipment, facilities and personal property relating to the
Restaurants including, without limitation, glassware, dishwashing equipment, dispensing


LEGAL02/39753922v5
Case 20-61065-pwb        Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                   Desc Main
                                Document    Page 60 of 92
                                                                              Privileged & Confidential
                                                                              Attorney Client Privileged

equipment, storage areas and facilities, and cash registers shall be owned and maintained by
Owner, and shall be insured during the Term for the benefit of Owner in accordance with this
Agreement and the Asset Purchase Agreement (all such costs with respect to such insurance
(including any premiums) to be paid for by Owner). Owner agrees that Manager shall be named
as an additional loss payee under such insurance policies maintained by Owner.

        5.        During the full Term hereof, Owner shall keep in full force and effect: (a)
commercial general liability insurance with limits of at least $[to be reasonably agreed by Owner
and Manager prior to Closing] per occurrence for personal injury and death and property damage,
which shall, among other risks, and such commercial general liability policy shall name Manager
as an additional insured for so long as Manager holds the Permits; and (b) worker’s compensation
insurance as required by Law. During the full Term hereof, Manager shall (at the sole cost and
expense of Owner): (i) use commercially reasonable efforts to keep each Permit in full force and
effect; and (ii) to the extent that Manager’s obligations under this Agreement are insurable,
maintain commercial general liability insurance for the benefit of Owner insuring Manager’s
obligations under this Agreement, in accordance with Manager’s standard corporate insurance
policies, processes and procedures (all such costs with respect to such insurance (including any
premiums) to be paid for by Owner).

       6.          In the event that either party violates: (a) any condition of this Agreement other
than those related to Legal Requirements (as defined below) and such violation remains uncured
for five (5) business days after notice thereof to the violating party via email and overnight mail
to the notice parties at the addresses listed in the Asset Purchase Agreement or (b) any Legal
Requirement (i) after issuance of a final decision is either not appealed or is upheld on appeal, or
(ii) upon the issuance of a second citation alleging a violation of any Legal Requirement prior to
a final decision described in clause (i) hereof where there is a finding of the applicable authority
adverse to Owner or Manager, the non-violating party shall have the right to terminate this
Agreement immediately after five (5) business days’ written notice to the violating party,
provided that, if a violation of subparagraph (b)(i) or (b)(ii) above can be cured by payment of a
fine or otherwise, the non-violating party may not terminate this Agreement if the violating party
cures such violation within the earlier to occur of (x) the time required by law or set forth in the
citation, or (y) ten (10) business days after such decision is upheld on appeal, or if no appeal is
filed, the last day permitted for filing an appeal. Upon the issuance to Owner of the required
transferred or newly-issued Permits for a Retained Restaurant, Manager shall (aa) deliver
promptly the original Permits, as the case may be, for such Retained Restaurant to Owner or to
the pertinent Governmental Authority, (bb) notify the pertinent Governmental Authority that it
is surrendering the original Permit(s), as the case may be, and desires that they be canceled,
and/or (cc) take such other action with respect to the pertinent Governmental Authority as it may
be necessary or proper to effect and confirm the cancellation of the original Permit(s), as the case
may be and as if it had actually surrendered the original Permit(s). “Legal Requirements” shall
mean and include all those Laws applicable to maintaining each relevant Permit and obtaining
each relevant Permit.

        7.      Time is of the essence in this Agreement. Owner shall use its reasonable best
efforts to obtain at the earliest practicable date all necessary authorizations, consents and
approvals to transfer the Permits at the Retained Restaurants in Owner’s name; provided that


LEGAL02/39753922v5
Case 20-61065-pwb        Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                   Desc Main
                                Document    Page 61 of 92
                                                                              Privileged & Confidential
                                                                              Attorney Client Privileged

Manager shall not be obligated to pay any consideration therefor to any third party from whom
consent or approval is requested or to initiate any litigation or Legal Proceedings to obtain any
such consent or approval. Manager agrees to cooperate with Owner’s efforts to make any
required filings or obtain the Permits at Owner’s sole cost and expense as may be reasonably
necessary.

         8.     This Agreement shall be governed and construed in accordance with the laws of
the State of Georgia applicable to contracts made and performed in such State.

         9.      This Agreement and the Asset Purchase Agreement (including the schedules and
exhibits thereto) and the Ancillary Agreements represent the entire understanding and agreement
among the parties with respect to the subject matter hereof. This Agreement can be amended,
supplemented or changed, and any provision hereof can be waived, only by written instrument
making specific reference to this Agreement signed by the Party against whom enforcement of
any such amendment, supplement, modification or waiver is sought.

        10.      This Agreement shall be binding upon and shall inure to the benefit of the parties
hereto and their respective successors and permitted assigns. Nothing in this Agreement shall
create or be deemed to create any third party beneficiary rights in any Person or entity not a party
except as otherwise expressly provided herein. No assignment of this Agreement or of any rights
or obligations hereunder may be made by either Manager or Owner (by operation of law or
otherwise) without the prior written consent of the other party and any attempted assignment
without the required consent shall be void and without effect. No assignment of any obligations
hereunder shall relieve the parties of any such obligations. Notwithstanding the foregoing,
Owner shall be permitted to assign any or all of its rights under this Agreement to an Affiliate of
Owner without the prior written consent of Manager; provided, however, that Owner shall at all
times remain liable for all obligations under this Agreement

        11.      Except as otherwise expressly set forth herein, nothing contained herein shall be
construed as to constitute the relationship hereby created as an employment, an agency,
partnership, or a joint venture, Manager having no authority to make any binding agreement or
commitment on behalf of Owner.

         12.     This Agreement may be executed in counterparts, each of which when so
executed shall be deemed to be an original and all of which when taken together shall constitute
one and the same instrument. The words “execution,” signed,” “signature,” and words of like
import in this Agreement shall include images of manually executed signatures transmitted by
facsimile or other electronic format (including, without limitation, “pdf”, “tif” or “jpg”) and other
electronic signatures (including, without limitation, DocuSign and AdobeSign). The use of
electronic signatures and electronic records (including, without limitation, any contract or other
record created, generated, sent, communicated, received, or stored by electronic means) shall be
of the same legal effect, validity and enforceability as a manually executed signature or use of a
paper-based record-keeping system to the fullest extent permitted by applicable law, including
the Federal Electronic Signatures in Global and National Commerce Act, the New York State
Electronic Signatures and Records Act and any other applicable law, including, without




LEGAL02/39753922v5
Case 20-61065-pwb     Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43             Desc Main
                             Document    Page 62 of 92
                                                                     Privileged & Confidential
                                                                     Attorney Client Privileged

limitation, any state law based on the Uniform Electronic Transactions Act or the Uniform
Commercial Code.

                [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




LEGAL02/39753922v5
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                               Document    Page 63 of 92



        IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the
dates set forth below to be effective as of the latest date set forth below (previously defined as
the “Effective Date”).

                                                       MANAGER:

                                                       THE KRYSTAL COMPANY



                                                       By: _____________________________
                                                       Name:
                                                       Title:
                                                       Date:



                                                       OWNER:

                                                       DB KRST INVESTORS LLC



                                                       By: _____________________________
                                                       Name:
                                                       Title:
                                                       Date:




                               [Signature Page to Management Agreement]
LEGAL02/39753922v5
Case 20-61065-pwb      Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43     Desc Main
                              Document    Page 64 of 92



                                        SCHEDULE 1

[List of all Retained Restaurants pending Permits as of the Closing Date]




LEGAL02/39753922v5
Case 20-61065-pwb      Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43               Desc Main
                              Document    Page 65 of 92



                                        SCHEDULE 2

[List of all Designation Rights Restaurants pending Permits as of the Closing Date]




LEGAL02/39753922v5
Case 20-61065-pwb      Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43              Desc Main
                              Document    Page 66 of 92



                                        SCHEDULE 3

[List of all Permits (i) being transferred or applied for as of the Closing Date at the Retained
Restaurants and (ii) at the Designation Rights Restaurants]




LEGAL02/39753922v5
Case 20-61065-pwb    Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43   Desc Main
                            Document    Page 67 of 92



                                     EXHIBIT A

                      [Copy of executed Asset Purchase Agreement]




LEGAL02/39753922v5
Case 20-61065-pwb   Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43   Desc Main
                           Document    Page 68 of 92



                                   Exhibit B

                                   Bill of Sale




                                    Exhibit B
Case 20-61065-pwb        Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                    Desc Main
                                Document    Page 69 of 92
                                                                                           Final Form


                                              FORM OF

                                          BILL OF SALE

      This BILL OF SALE, dated as of [●], 2020 (this “Bill of Sale”), is entered into by and
between The Krystal Company, a Tennessee corporation (“Seller”) and DB KRST Investors
LLC, a Delaware limited liability company (“Purchaser”). Seller and Purchaser are
sometimes herein referred to collectively as the “Parties” and individually as a “Party.”

       WHEREAS, the Parties entered into that certain Asset Purchase Agreement dated as of
May 6, 2020 (the “Asset Purchase Agreement”).

                NOW, THEREFORE, in consideration of the mutual covenants and agreements
 contained herein and in the Asset Purchase Agreement, and other good and valuable
 consideration, the receipt, adequacy and legal sufficiency of which are hereby acknowledged, the
 Parties hereto, intending to be legally bound, hereby agree as follows:

        1.      Sale and Transfer of Purchased Assets. For good and valuable consideration, the
receipt and sufficiency of which are hereby acknowledged, and pursuant to, and subject to the
terms and conditions of, the Asset Purchase Agreement, effective as of the Closing, Seller hereby
sells, assigns, transfers, conveys and delivers to Purchaser, and Purchaser hereby purchases,
acquires and accepts from Seller, all of Seller’s right, title and interest in or to the Purchased Assets
(other than the Intellectual Property Rights and Assigned Contracts). For the avoidance of doubt,
Seller is not selling, assigning, transferring, conveying or delivering to Purchaser any of the
Excluded Assets.

        2.       Assumption of Assumed Liabilities. For good and valuable consideration, the
receipt and sufficiency of which are hereby acknowledged, and subject to the terms and conditions
set forth in the Asset Purchase Agreement, effective as of the Closing, Purchaser hereby assumes
and agrees to pay, perform and discharge in accordance with their respective terms, subject to all
defenses or counterclaims with respect thereto, the Assumed Liabilities. For the avoidance of
doubt, Purchaser is not assuming in any manner and shall not be liable or responsible for any of
the Excluded Liabilities.

       3.       Entire Agreement. This Bill of Sale, together with the Asset Purchase Agreement
and the other agreements, instruments, certificates and documents executed and delivered in
connection therewith, represent the entire understanding and agreement among the Parties with
respect to the subject matter hereof.

       4.     Amendment and Waiver. This Bill of Sale can be amended, supplemented or
changed, and any provision hereof can be waived, only by written instrument making specific
reference to this Bill of Sale signed by the Party against whom enforcement of any such
amendment, supplement, modification or waiver is sought.

        5.     Terms of the Asset Purchase Agreement. Capitalized terms used but not defined
herein shall have the meanings given to such terms in the Asset Purchase Agreement. This Bill of



LEGAL02/39753913v4
Case 20-61065-pwb        Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                                Document    Page 70 of 92



Sale is entered into pursuant to, and subject to all of the terms and conditions of, the Asset Purchase
Agreement. Nothing contained in this Bill of Sale shall be deemed to supersede, enlarge on or
modify any of the obligations, agreements, covenants or warranties of Seller or Purchaser
contained in the Asset Purchase Agreement. In the event of any conflict or inconsistency between
this Bill of Sale and the Asset Purchase Agreement, the terms of the Asset Purchase Agreement
shall prevail.

       6.      Governing Law. This Bill of Sale shall be governed by and construed in accordance
with the laws of the State of Georgia applicable to contracts made and performed in such State.

       7.      Binding Effect. This Bill of Sale is being executed by Seller and Purchaser and shall
be binding upon and inure to the benefit of Seller and Purchaser, and their respective successors
and assigns, for the uses and purposes above set forth and referred to, and shall be effective as of
the date hereof. Nothing in this Bill of Sale shall create or be deemed to create any third party
beneficiary rights in any Person or entity not a Party.

        8.     Counterparts. This Bill of Sale may be executed in counterparts, each of which
when so executed shall be deemed to be an original and all of which when taken together
shall constitute one and the same instrument. The words “execution,” signed,” “signature,”
and words of like import in this Bill of Sale shall include images of manually executed
signatures transmitted by facsimile or other electronic format (including, without limitation,
“pdf”, “tif” or “jpg”) and other electronic signatures (including, without limitation,
DocuSign and AdobeSign). The use of electronic signatures and electronic records
(including, without limitation, any contract or other record created, generated, sent,
communicated, received, or stored by electronic means) shall be of the same legal effect,
validity and enforceability as a manually executed signature or use of a paper-based record-
keeping system to the fullest extent permitted by applicable law, including the Federal
Electronic Signatures in Global and National Commerce Act, the New York State Electronic
Signatures and Records Act and any other applicable law, including, without limitation, any
state law based on the Uniform Electronic Transactions Act or the Uniform Commercial
Code.

        9.       Headings. The division of this Bill of Sale into Articles, Sections and other
Subdivisions and the insertion of headings are for convenience of reference only and shall not
affect or be utilized in construing or interpreting this Bill of Sale.


                          [Remainder of page intentionally left blank.]




LEGAL02/39753913v4
Case 20-61065-pwb     Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43           Desc Main
                             Document    Page 71 of 92



        IN WITNESS WHEREOF, the Parties have caused this Bill of Sale to be executed by
their respective officers thereunto duly authorized, as of the date first written above.

                                                     SELLER:

                                                     THE KRYSTAL COMPANY



                                                     By: _____________________________
                                                     Name:
                                                     Title:



                                                     PURCHASER:

                                                     DB KRST INVESTORS LLC



                                                     By: _____________________________
                                                     Name:
                                                     Title:




                                 [Signature Page to Bill of Sale]
LEGAL02/39753913v4
Case 20-61065-pwb   Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43   Desc Main
                           Document    Page 72 of 92



                                   Exhibit C

                      Assignment and Assumption Agreement




                                   Exhibit C
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                 Desc Main
                               Document    Page 73 of 92
                                                                                       Final Form

                                            FORM OF

                     ASSIGNMENT AND ASSUMPTION AGREEMENT

        This ASSIGNMENT AND ASSUMPTION AGREEMENT, dated as of [●], 2020 (this
“Assignment”), is entered into by and between The Krystal Company, a Tennessee corporation
(“Seller”) and DB KRST Investors LLC, a Delaware limited liability company (“Purchaser”).
Seller and Purchaser are sometimes herein referred to collectively as the “Parties” and individually
as a “Party.”

              WHEREAS, the Parties are parties to that certain Asset Purchase Agreement,
dated as of May 6, 2020 (the “Asset Purchase Agreement”).

                NOW, THEREFORE, in consideration of the mutual covenants and agreements
 contained herein and in the Asset Purchase Agreement, and other good and valuable
 consideration, the receipt, adequacy and legal sufficiency of which are hereby acknowledged, the
 Parties hereto, intending to be legally bound, hereby agree as follows:

        1.      Assignment and Assumption. Pursuant to, and subject to the terms and conditions
of, the Asset Purchase Agreement, effective as of the Closing, (a) Seller hereby sells, transfers,
assigns, conveys and delivers to Purchaser, and Purchaser hereby accepts the sale, transfer,
assignment, conveyance and delivery of, all of Seller’s right, title and interest in and to the
Intellectual Property Rights and the Assigned Contracts set forth on Schedule 1 and (b) Purchaser
assumes and agrees to pay, perform and discharge in accordance with their respective terms, and
subject to all defenses or counterclaims with respect thereto, any Assumed Liabilities associated
with the Intellectual Property Rights and Assigned Contracts set forth on Schedule 1.

        2.     Entire Agreement. This Assignment, together with the Asset Purchase
Agreement and the other agreements, instruments, certificates and documents executed and
delivered in connection therewith, represent the entire understanding and agreement among the
Parties with respect to the subject matter hereof.

       3.     Amendment and Waiver. This Assignment can be amended, supplemented or
changed, and any provision hereof can be waived, only by written instrument making specific
reference to this Assignment signed by the Party against whom enforcement of any such
amendment, supplement, modification or waiver is sought.

        4.     Terms of the Asset Purchase Agreement. Capitalized terms used but not defined
herein shall have the meanings given to such terms in the Asset Purchase Agreement. This
Assignment is entered into pursuant to, and subject to all of the terms and conditions of, the Asset
Purchase Agreement. Nothing contained in this Assignment shall be deemed to supersede, enlarge
on or modify any of the obligations, agreements, covenants or warranties of any Seller or Purchaser
contained in the Asset Purchase Agreement. In the event of any conflict or inconsistency between
this Assignment and the Asset Purchase Agreement, the terms of the Asset Purchase Agreement
shall prevail.




LEGAL02/39753903v4
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                Desc Main
                               Document    Page 74 of 92



       5.     Governing Law. This Assignment shall be governed by and construed in
accordance with the laws of the State of Georgia applicable to contracts made and performed in
such State.

        6.      Binding Effect. This Assignment is being executed by Seller and Purchaser and
shall be binding upon and inure to the benefit of Seller and Purchaser, and their respective
successors and assigns, for the uses and purposes above set forth and referred to, and shall be
effective as of the date hereof. Nothing in this Assignment shall create or be deemed to create any
third party beneficiary rights in any Person or entity not a Party.

        7.     Counterparts. This Assignment may be executed in counterparts, each of which
when so executed shall be deemed to be an original and all of which when taken together
shall constitute one and the same instrument. The words “execution,” signed,” “signature,”
and words of like import in this Assignment shall include images of manually executed
signatures transmitted by facsimile or other electronic format (including, without limitation,
“pdf”, “tif” or “jpg”) and other electronic signatures (including, without limitation,
DocuSign and AdobeSign). The use of electronic signatures and electronic records
(including, without limitation, any contract or other record created, generated, sent,
communicated, received, or stored by electronic means) shall be of the same legal effect,
validity and enforceability as a manually executed signature or use of a paper-based record-
keeping system to the fullest extent permitted by applicable law, including the Federal
Electronic Signatures in Global and National Commerce Act, the New York State Electronic
Signatures and Records Act and any other applicable law, including, without limitation, any
state law based on the Uniform Electronic Transactions Act or the Uniform Commercial
Code.

        8.       Headings. The division of this Assignment into Articles, Sections and other
Subdivisions and the insertion of headings are for convenience of reference only and shall not
affect or be utilized in construing or interpreting this Assignment.

                          [Remainder of page intentionally left blank.]




LEGAL02/39753903v4
Case 20-61065-pwb    Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43            Desc Main
                            Document    Page 75 of 92


        IN WITNESS WHEREOF, the Parties have caused this Assignment to be executed by
their respective officers thereunto duly authorized, as of the date first written above.

                                                     SELLER:

                                                     THE KRYSTAL COMPANY



                                                     By: _____________________________
                                                     Name:
                                                     Title:



                                                     PURCHASER:

                                                     DB KRST INVESTORS LLC



                                                     By: _____________________________
                                                     Name:
                                                     Title:




                      [Signature Page to Assignment and Assumption Agreement]
LEGAL02/39753903v4
Case 20-61065-pwb     Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43     Desc Main
                             Document    Page 76 of 92


                                        Schedule 1

                     Intellectual Property Rights and Assigned Contracts

                             (Excluding Real Property Leases)


                                      [To be inserted]




LEGAL02/39753903v4
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                 Desc Main
                               Document    Page 77 of 92
                                                                                        Final Form


                                           FORM OF

       ASSIGNMENT AND ASSUMPTION AGREEMENT (REAL PROPERTY)

        This ASSIGNMENT AND ASSUMPTION AGREEMENT (REAL PROPERTY),
dated as of [●], 2020 (this “Assignment”), is entered into by and between The Krystal Company,
a Tennessee corporation (“Seller”) and DB KRST Investors LLC, a Delaware limited liability
company (“Purchaser”). Seller and Purchaser are sometimes herein referred to collectively as the
“Parties” and individually as a “Party.”

       WHEREAS, the Parties are parties to that certain Asset Purchase Agreement, dated
as of May 6, 2020 (the “Asset Purchase Agreement”).

        NOW, THEREFORE, in consideration of the mutual covenants and agreements
contained herein and in the Asset Purchase Agreement, and other good and valuable
consideration, the receipt, adequacy and legal sufficiency of which are hereby acknowledged, the
Parties hereto, intending to be legally bound, hereby agree as follows:

         1.     Assignment and Assumption. Pursuant to and subject to the terms and conditions
of the Asset Purchase Agreement, effective as of the Closing, (a) Seller hereby sells, transfers,
assigns, conveys and delivers to Purchaser, and Purchaser hereby accepts the sale, transfer,
assignment, conveyance and delivery of, all of Seller’s right, title and interest in and to the Real
Property Leases that are Assigned Contracts as set forth on Schedule 1, and (b) Purchaser assumes
and agrees to pay, perform and discharge in accordance with their respective terms, and subject
to all defenses or counterclaims with respect thereto, any Assumed Liabilities associated with the
Real Property Leases that are Assigned Contracts as set forth on Schedule 1.

        2.      Entire Agreement. This Assignment, together with the Asset Purchase Agreement
and the other agreements, instruments, certificates and documents executed and delivered in
connection therewith, represent the entire understanding and agreement among the Parties with
respect to the subject matter hereof.

       3.     Amendment and Waiver. This Assignment can be amended, supplemented or
changed, and any provision hereof can be waived, only by written instrument making specific
reference to this Assignment signed by the Party against whom enforcement of any such
amendment, supplement, modification or waiver is sought.

        4.     Terms of the Asset Purchase Agreement. Capitalized terms used but not defined
herein shall have the meanings given to such terms in the Asset Purchase Agreement. This
Assignment is entered into pursuant to, and subject to all of the terms and conditions of, the Asset
Purchase Agreement. Nothing contained in this Assignment shall be deemed to supersede, enlarge
on or modify any of the obligations, agreements, covenants or warranties of Seller or Purchaser
contained in the Asset Purchase Agreement. In the event of any conflict or inconsistency between
this Assignment and the Asset Purchase Agreement, the terms of the Asset Purchase Agreement
shall prevail.




LEGAL02/39753875v4
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                 Desc Main
                               Document    Page 78 of 92




       5.     Governing Law. This Assignment shall be governed by and construed in
accordance with the laws of the State of Georgia applicable to contracts made and performed in
such State.

        6.       Binding Effect. This Assignment is being executed by Seller and Purchaser and
shall be binding upon and inure to the benefit of Seller and Purchaser, and their respective
successors and assigns, for the uses and purposes above set forth and referred to, and shall be
effective as of the date hereof. Nothing in this Assignment shall create or be deemed to create any
third party beneficiary rights in any Person or entity not a Party.

        7.      Counterparts. This Assignment may be executed in counterparts, each of which
when so executed shall be deemed to be an original and all of which when taken together
shall constitute one and the same instrument. The words “execution,” signed,” “signature,”
and words of like import in this Assignment shall include images of manually executed
signatures transmitted by facsimile or other electronic format (including, without limitation,
“pdf”, “tif” or “jpg”) and other electronic signatures (including, without limitation, DocuSign
and AdobeSign). The use of electronic signatures and electronic records (including, without
limitation, any contract or other record created, generated, sent, communicated, received, or
stored by electronic means) shall be of the same legal effect, validity and enforceability as a
manually executed signature or use of a paper-based record-keeping system to the fullest
extent permitted by applicable law, including the Federal Electronic Signatures in Global
and National Commerce Act, the New York State Electronic Signatures and Records Act and
any other applicable law, including, without limitation, any state law based on the Uniform
Electronic Transactions Act or the Uniform Commercial Code.

        8.       Headings. The division of this Assignment into Articles, Sections and other
Subdivisions and the insertion of headings are for convenience of reference only and shall not
affect or be utilized in construing or interpreting this Assignment.


                          [Remainder of page intentionally left blank.]




LEGAL02/39753875v4
Case 20-61065-pwb           Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                   Desc Main
                                   Document    Page 79 of 92



        IN WITNESS WHEREOF, the Parties have caused this Assignment to be executed by
their respective officers thereunto duly authorized, as of the date first written above.


                                                            SELLER:

                                                            THE KRYSTAL COMPANY



                                                            By: _____________________________
                                                            Name:
                                                            Title:



                                                            PURCHASER:

                                                            DB KRST INVESTORS LLC



                                                            By: _____________________________
                                                            Name:
                                                            Title:




                     [Signature Page to Assignment and Assumption Agreement (Real Property)]
LEGAL02/39753875v4
Case 20-61065-pwb    Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43   Desc Main
                            Document    Page 80 of 92



                                    Schedule 1

                           Purchased Real Property Leases

                                  [To be inserted]




LEGAL02/39753875v4
Case 20-61065-pwb   Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43   Desc Main
                           Document    Page 81 of 92



                                   Exhibit D

                     IP Assignment and Assumption Agreement




                                    Exhibit D
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                 Desc Main
                               Document    Page 82 of 92
                                                                                       Final Form


                                           FORM OF

             INTELLECTUAL PROPERTY ASSIGNMENT AGREEMENT

       This INTELLECTUAL PROPERTY ASSIGNMENT AGREEMENT, dated as of [●],
2020 (such date, the “Effective Date”, and such agreement, this “Intellectual Property
Assignment”), is entered into by and between The Krystal Company, a Tennessee corporation (the
“Assignor”) and DB KRST Investors LLC, a Delaware limited liability company (the “Assignee”).
The Assignor and the Assignee are sometimes herein referred to collectively as the “Parties” and
individually as a “Party.”

       WHEREAS, the Parties entered into that certain Asset Purchase Agreement dated as of
May 6, 2020 (the “Asset Purchase Agreement”);

       WHEREAS, the Assignor owns the Owned Intellectual Property, including the (a)
issued patents and patent applications, (b) trademark and service mark registrations and
applications, (c) copyright registrations and applications and (d) registered Internet domain
names, in each case, set forth on Schedule 1 hereto; and

         WHEREAS, pursuant to the Asset Purchase Agreement, the Assignor desires to assign,
transfer, convey and deliver to the Assignee, and the Assignee wishes to acquire from the Assignor,
all of the Assignor’s right, title and interest in, to and under the Owned Intellectual Property and
all goodwill associated therewith or symbolized thereby.

        NOW, THEREFORE, in consideration of the mutual covenants and agreements
contained herein and in the Asset Purchase Agreement, and other good and valuable consideration,
the receipt, adequacy and legal sufficiency of which are hereby acknowledged, the Parties hereto,
intending to be legally bound, hereby agree as follows:

         1.     Assignment. As of the Effective Date, the Assignor hereby irrevocably sells,
transfers, assigns, conveys and delivers to the Assignee, and the Assignee hereby accepts the
sale, transfer, assignment, conveyance and delivery of, all of Assignor’s right, title and interest
in and to the Owned Intellectual Property, together with (a) all goodwill of the business
associated with or symbolized by the Owned Intellectual Property, (b) all common law rights
in, and all rights derived from, the Owned Intellectual Property and all issuances and
registrations that may be granted thereon, (c) any past, present or future claims or causes of
action (either in law or in equity) arising out of or related to any infringement, misappropriation,
dilution or other violation of any of the Owned Intellectual Property, and the right to sue for
damages, injunctive relief, lost profits in connection therewith or any other remedy or otherwise
recover therefor, (d) any and all income, royalties, damages and payments now or hereafter due
and/or payable with respect to the Owned Intellectual Property and the right to receive such
income, royalties and payments, (e) the right to prosecute, maintain and defend the Owned
Intellectual Property, (f) the right to claim priority based on the Owned Intellectual Property
and (g) the right to fully and entirely stand in the place of the Assignor in all matters related
thereto, the same to be held and enjoyed by the Assignee for its own use and enjoyment and the
use and enjoyment of its successors and assigns as fully and entirely as the same would have



LEGAL02/39753867v4
Case 20-61065-pwb      Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43               Desc Main
                              Document    Page 83 of 92



been held and enjoyed by the Assignor if this assignment had not been made. The assignment
contemplated herein is meant to be an absolute assignment and not by way of security.

        2.      Further Assurances. As may be necessary, the Assignor shall use reasonable
efforts (at the sole cost and expense of Assignee) to (i) execute, acknowledge and deliver such
other instruments, documents and agreements and (ii) do such other things, in each case, as may
be reasonably necessary to carry out its obligations under this Intellectual Property Assignment
and as may be reasonably necessary to more completely effectuate, consummate, record, perfect
or confirm the transactions contemplated hereby. The Assignor further agrees to (at the sole cost
and expense of Assignee) assist the Assignee in changing the technical and administrative
contact information for the Internet domain names included in the Owned Intellectual Property
with the applicable Internet domain name registrars to such information of the Assignee’s choice
(including by delivering to the Assignee any and all applicable user names and passwords for
any accounts related to such Internet domain names to enable the Assignee to assume control of
such Internet domain names). If the Assignor fails to promptly take or execute any action or
document described in this Section 2 after written request by the Assignee, then the Assignor
hereby constitutes and appoints the Assignee as its true and lawful agent and attorney-in-fact,
with full power of substitution, in the name and stead of the Assignor but on behalf and for the
benefit of the Assignee, to take and execute in the name of the Assignor any and all actions and
documents that may be deemed necessary or proper to effectuate, consummate, record, perfect
or confirm the transactions contemplated in this Intellectual Property Assignment. Assignee
shall be responsible for payment of all costs and expenses of Assignor in connection with the
obligations under this Section 2.

        3.      Entire Agreement. This Intellectual Property Assignment, together with the Asset
Purchase Agreement and the other agreements, instruments, certificates and documents executed
and delivered in connection therewith, represent the entire understanding and agreement among
the Parties with respect to the subject matter hereof.

       4.     Amendment and Waiver. This Intellectual Property Assignment can be amended,
supplemented or changed, and any provision hereof can be waived, only by written instrument
making specific reference to this Intellectual Property Assignment signed by the Party against
whom enforcement of any such amendment, supplement, modification or waiver is sought.

        5.     Terms of the Asset Purchase Agreement. Capitalized terms used but not defined
herein shall have the meanings given to such terms in the Asset Purchase Agreement. This
Intellectual Property Assignment is entered into pursuant to, and subject to all of the terms and
conditions of, the Asset Purchase Agreement. Nothing contained in this Assignment shall be
deemed to supersede, enlarge on or modify any of the obligations, agreements, covenants or
warranties of the Seller or Purchaser contained in the Asset Purchase Agreement. In the event of
any conflict or inconsistency between this Intellectual Property Assignment and the Asset
Purchase Agreement, the terms of the Asset Purchase Agreement shall prevail.

       6.      Governing Law. This Intellectual Property Assignment shall be governed by and
construed in accordance with the laws of the State of Georgia applicable to contracts made and
performed in such State.



LEGAL02/39753867v4
Case 20-61065-pwb        Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                  Desc Main
                                Document    Page 84 of 92




        7.      Binding Effect. This Intellectual Property Assignment shall be binding upon and
inure to the Parties and their respective successors and assigns. Nothing in this Intellectual Property
Assignment shall create or be deemed to create any third party beneficiary rights in any Person or
entity not a Party.

       8.     Counterparts. This Intellectual Property Assignment may be executed in
counterparts, each of which when so executed shall be deemed to be an original and all of
which when taken together shall constitute one and the same instrument. The words
“execution,” signed,” “signature,” and words of like import in this Intellectual Property
Assignment shall include images of manually executed signatures transmitted by facsimile
or other electronic format (including, without limitation, “pdf”, “tif” or “jpg”) and other
electronic signatures (including, without limitation, DocuSign and AdobeSign). The use of
electronic signatures and electronic records (including, without limitation, any contract or
other record created, generated, sent, communicated, received, or stored by electronic
means) shall be of the same legal effect, validity and enforceability as a manually executed
signature or use of a paper-based record-keeping system to the fullest extent permitted by
applicable law, including the Federal Electronic Signatures in Global and National
Commerce Act, the New York State Electronic Signatures and Records Act and any other
applicable law, including, without limitation, any state law based on the Uniform Electronic
Transactions Act or the Uniform Commercial Code.

       9.      Headings. The division of this Intellectual Property Assignment into Articles,
Sections and other subdivisions and the insertion of headings are for convenience of reference only
and shall not affect or be utilized in construing or interpreting this Intellectual Property
Assignment.

                          [Remainder of page intentionally left blank.]




LEGAL02/39753867v4
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                Desc Main
                               Document    Page 85 of 92



          IN WITNESS WHEREOF, the Parties have caused this Intellectual Property
  Assignment to be executed by their respective officers thereunto duly authorized, as of the date
  first written above.

                                                        ASSIGNOR:

                                                        THE KRYSTAL COMPANY



                                                        By: _____________________________
                                                        Name:
                                                        Title:



                                                        ASSIGNEE:

                                                        DB KRST INVESTORS LLC



                                                        By: _____________________________
                                                        Name:
                                                        Title:




                               [Signature Page to IP Assignment Agreement]
LEGAL02/39753867v4
Case 20-61065-pwb     Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43           Desc Main
                             Document    Page 86 of 92



                                           Schedule 1

                                  Owned Intellectual Property


                                 Issued and Applied-For Patents

    Title     Jurisdiction Patent No.       App. No.    Issue Date   Filing      Legal
                                                                     Date        Owner



                             Registered and Applied-For Trademarks

   Mark       Jurisdiction     Reg. No.     App. No.    Reg. Date    Filing      Legal
                                                                     Date        Owner



                             Registered and Applied-For Copyrights

    Title     Jurisdiction     Reg. No.     App. No.    Reg. Date    Filing      Legal
                                                                     Date        Owner



                               Registered Internet Domain Names

            Domain                        Legal Owner                Expiration Date




LEGAL02/39753867v4
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                Desc Main
                               Document    Page 87 of 92
                                                                                      Final Form


                                           FORM OF

     [PATENT][TRADEMARK][COPYRIGHT] ASSIGNMENT AGREEMENT

        This [PATENT][TRADEMARK][COPYRIGHT] ASSIGNMENT AGREEMENT, dated
as of [●], 2020 (such date, the “Effective Date”, and such agreement, this
“[Patent][Trademark][Copyright] Assignment”), is entered into by and between The Krystal
Company, a Tennessee corporation (the “Assignor”), and DB KRST Investors LLC, a Delaware
limited liability company (the “Assignee”). The Assignor and the Assignee are sometimes herein
referred to collectively as the “Parties” and individually as a “Party.”

       WHEREAS, the Parties entered into that certain Asset Purchase Agreement dated as of
May 6, 2020 (the “Asset Purchase Agreement”);

       WHEREAS, pursuant to the Asset Purchase Agreement, the Parties entered into that
certain Intellectual Property Assignment Agreement dated as of [●], 2020 (the “Master IP
Assignment Agreement”);

        WHEREAS, the Assignor owns the [issued patents and patent applications][trademark and
service mark registrations and applications][copyright registrations and applications] set forth on
Schedule 1 (the “Assigned [Patents][Marks][Copyrights)”); and

        WHEREAS, pursuant to the Master IP Assignment Agreement, the Assignor desires to
assign, transfer, convey and deliver to the Assignee, and the Assignee wishes to acquire from the
Assignor, all of the Assignor’s right, title and interest in, to and under the Assigned
[Patents][Marks and all goodwill associated therewith or symbolized thereby][Copyrights].

        NOW, THEREFORE, in consideration of the mutual covenants and agreements
contained herein and in the Asset Purchase Agreement, and other good and valuable consideration,
the receipt, adequacy and legal sufficiency of which are hereby acknowledged, the Parties hereto,
intending to be legally bound, hereby agree as follows:

        1.      Assignment. As of the Effective Date, the Assignor hereby irrevocably sells,
 transfers, assigns, conveys and delivers to the Assignee, and the Assignee hereby accepts the
 sale, transfer, assignment, conveyance and delivery of, all of the Assignor’s right, title and
 interest in and to the Assigned [Patents][Marks][Copyrights], together with [(a) all rights
 derived from the Assigned Patents, including the inventions claimed therein, and any reissues,
 reexamination, divisions, continuations, continuations-in-part, extensions, renewals and
 counterparts thereof already granted and which may be granted thereon, (b) any past, present or
 future claims or causes of action (either in law or in equity) arising out of or related to any
 infringement of any of the Assigned Patents, and the right to sue for damages, injunctive relief
 or any other remedy or otherwise recover therefor, (c) any and all income, royalties, damages
 and payments now or hereafter due and/or payable with respect to the Assigned Patents and the
 right to receive such income, royalties and payments, (d) the right to prosecute, maintain and
 defend the Assigned Patents, (e) the right to claim priority based on any of the Assigned Patents
 and (f) the right to fully and entirely stand in the place of the Assignor in all matters related



LEGAL02/39753861v4
Case 20-61065-pwb       Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43               Desc Main
                               Document    Page 88 of 92



 thereto, the same to be held and enjoyed by the Assignee for its own use and enjoyment and the
 use and enjoyment of its successors and assigns as fully and entirely as the same would have
 been held and enjoyed by the Assignor if this assignment had not been made][(a) all goodwill
 of the business associated with or symbolized by the Assigned Marks, (b) all common law rights
 in, and all rights derived from, the Assigned Marks and all registrations that may be granted
 thereon, and any renewals thereof, (c) any past, present or future claims or causes of action
 (either in law or in equity) arising out of or related to any infringement, misappropriation,
 dilution or other violation of any of the Assigned Marks, and the right to sue for damages,
 injunctive relief, lost profits in connection therewith or any other remedy or otherwise recover
 therefor, (d) any and all income, royalties, damages and payments now or hereafter due and/or
 payable with respect to the Assigned Marks and the right to receive such income, royalties and
 payments, (e) the right to prosecute, maintain and defend the Assigned Marks, (f) the right to
 claim priority based on the Assigned Marks and (g) the right to fully and entirely stand in the
 place of the Assignor in all matters related thereto, the same to be held and enjoyed by the
 Assignee for its own use and enjoyment and the use and enjoyment of its successors and assigns
 as fully and entirely as the same would have been held and enjoyed by the Assignor if this
 assignment had not been made.][(a) all common law rights in, and all rights derived from, the
 Assigned Copyrights and all registrations that may be granted thereon, and any extensions and
 renewals thereof, (c) any past, present or future claims or causes of action (either in law or in
 equity) arising out of or related to any infringement, misappropriation, dilution or other
 violation of any of the Assigned Copyrights, and the right to sue for damages, injunctive relief,
 lost profits in connection therewith or any other remedy or otherwise recover therefor, (d) any
 and all income, royalties, damages and payments now or hereafter due and/or payable with
 respect to the Assigned Copyrights and the right to receive such income, royalties and
 payments, (e) the right to prosecute, maintain and defend the Assigned Copyrights, (f) the right
 to claim priority based on the Assigned Copyrights and (g) the right to fully and entirely stand
 in the place of the Assignor in all matters related thereto, the same to be held and enjoyed by
 the Assignee for its own use and enjoyment and the use and enjoyment of its successors and
 assigns as fully and entirely as the same would have been held and enjoyed by the Assignor if
 this assignment had not been made.] The assignment contemplated herein is meant to be an
 absolute assignment and not by way of security.

        2.     Further Assurances. As may be necessary, the Assignor shall use reasonable efforts
(at the sole cost and expense of Assignee) to (i) execute, acknowledge and deliver such other
instruments, documents and agreements and (ii) do such other things, in each case, as may be
reasonably necessary to carry out its obligations under this [Patent][Trademark][Copyright]
Assignment and as may be reasonably necessary to more completely effectuate, consummate,
record, perfect or confirm the transactions contemplated hereby. If the Assignor fails to
promptly take or execute any action or document described in this Section 2 after written
request by the Assignee, then the Assignor hereby constitutes and appoints the Assignee as its
true and lawful agent and attorney-in-fact, with full power of substitution, in the name and
stead of the Assignor but on behalf and for the benefit of the Assignee, to take and execute in
the name of the Assignor any and all actions and documents that may be deemed necessary or
proper to effectuate, consummate, record, perfect or confirm the transactions contemplated in
this [Patent][Trademark][Copyright] Assignment. Assignee shall be responsible for payment
of all costs and expenses of Assignor in connection with the obligations under this Section 2.



LEGAL02/39753861v4
Case 20-61065-pwb      Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43               Desc Main
                              Document    Page 89 of 92



        3.      Recordation. The Assignee shall be solely responsible for all actions associated
with the perfection of Assignee’s right, title and interest in and to the Assigned
[Patents][Marks][Copyrights]        and       recordation   and/or     registration   of     this
[Patent][Trademark][Copyright] Assignment or any other document evidencing the assignment to
the Assignee of the Assigned [Patents][Marks][Copyrights]. The Assignor hereby authorizes the
[Commissioner for Patents in the United States Patent and Trademark Office][Commissioner for
Trademarks in the United States Patent and Trademark Office][Register of Copyrights in the
United States Copyright Office] to record the Assignee as the assignee and owner of the Assigned
[Patents][Marks][Copyrights] and to deliver to the Assignee, and to the Assignee’s attorneys,
agents, successors or assigns, all official documents and communications as may be warranted by
this [Patent][Trademark][Copyright] Assignment[, including but not limited to issuing any and all
Letters Patents of the United States on inventions claimed in the Assigned Patents].

       4.    Entire Agreement. This [Patent][Trademark][Copyright] Assignment, together
with the Asset Purchase Agreement and the other agreements, instruments, certificates and
documents executed and delivered in connection therewith, represent the entire understanding and
agreement among the Parties with respect to the subject matter hereof.

       5.     Amendment and Waiver. This [Patent][Trademark][Copyright] Assignment can
be amended supplemented or changed, and any provision hereof can be waived, only by written
instrument making specific reference to this [Patent][Trademark[Copyright] Assignment
signed by the Party against whom enforcement of any such amendment, supplement,
modification or waiver is sought.

       6.     Terms of the Asset Purchase Agreement. Capitalized terms used but not defined
herein shall have the meanings given to such terms in the Asset Purchase Agreement. This
[Patent][Trademark][Copyright] Assignment is entered into pursuant to, and subject to all of
the terms and conditions of, the Asset Purchase Agreement. Nothing contained in this
Assignment shall be deemed to supersede, enlarge on or modify any of the obligations,
agreements, covenants or warranties of Seller or Purchaser contained in the Asset Purchase
Agreement. In the event of any conflict or inconsistency between this
[Patent][Trademark][Copyright] Assignment and the Asset Purchase Agreement, the terms of
the Asset Purchase Agreement shall prevail.

       7.     Governing Law. This [Patent][Trademark][Copyright] Assignment shall be
governed by and construed in accordance with the laws of the State of Georgia applicable to
contracts made and performed in such State.

        8.     Binding Effect. This [Patent][Trademark][Copyright] Assignment shall be
binding upon and inure to the Parties and their respective successors and assigns. Nothing in
this [Patent][Trademark][Copyright] Assignment shall create or be deemed to create any third
party beneficiary rights in any Person or entity not a Party.

       9.     Counterparts. This [Patent][Trademark][Copyright] Assignment may be
executed in counterparts, each of which when so executed shall be deemed to be an original
and all of which when taken together shall constitute one and the same instrument. The



LEGAL02/39753861v4
Case 20-61065-pwb      Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43            Desc Main
                              Document    Page 90 of 92



words “execution,” signed,” “signature,” and words of like import in this
[Patent][Trademark][Copyright] shall include images of manually executed signatures
transmitted by facsimile or other electronic format (including, without limitation, “pdf”,
“tif” or “jpg”) and other electronic signatures (including, without limitation, DocuSign and
AdobeSign). The use of electronic signatures and electronic records (including, without
limitation, any contract or other record created, generated, sent, communicated, received,
or stored by electronic means) shall be of the same legal effect, validity and enforceability
as a manually executed signature or use of a paper-based record-keeping system to the
fullest extent permitted by applicable law, including the Federal Electronic Signatures in
Global and National Commerce Act, the New York State Electronic Signatures and Records
Act and any other applicable law, including, without limitation, any state law based on the
Uniform Electronic Transactions Act or the Uniform Commercial Code.

        10.    Headings. The division of this [Patent][Trademark][Copyright] Assignment into
Articles, Sections and other subdivisions and the insertion of headings are for convenience of
reference only and shall not affect or be utilized in construing or interpreting this
[Patent][Trademark][Copyright] Assignment.


                        [Remainder of page intentionally left blank.]




LEGAL02/39753861v4
Case 20-61065-pwb      Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43                   Desc Main
                              Document    Page 91 of 92



        IN WITNESS WHEREOF, the Parties have caused this [Patent][Trademark][Copyright]
Assignment to be executed by their respective officers thereunto duly authorized, as of the date
first written above.


                                                       ASSIGNOR:

                                                       THE KRYSTAL COMPANY



                                                       By: _____________________________
                                                       Name:
                                                       Title:


                                                       ASSIGNEE:

                                                       DB KRST INVESTORS LLC



                                                       By: _____________________________
                                                       Name:
                                                       Title:




                [Signature Page to [Patent][Trademark][Copyright] Assignment Agreement]
LEGAL02/39753861v4
Case 20-61065-pwb     Doc 425 Filed 05/06/20 Entered 05/06/20 16:42:43         Desc Main
                             Document    Page 92 of 92



                                          Schedule 1

                             Assigned [Patents][Marks][Copyrights]


                                [Issued and Applied-For Patents

    Title     Jurisdiction Patent No.       App. No.    Issue Date    Filing   Legal
                                                                      Date     Owner

                                               ]


                         [Registered and Applied-For Trademarks

   Mark       Jurisdiction     Reg. No.     App. No.    Reg. Date     Filing   Legal
                                                                      Date     Owner

                                               ]


                             [Registered and Applied-For Copyrights

    Title     Jurisdiction     Reg. No.     App. No.    Reg. Date     Filing   Legal
                                                                      Date     Owner

                                               ]




LEGAL02/39753861v4
